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                  EXHIBIT B-134
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                                                                                     FILED IN OFFICE



                         IN THE SUPERIOR COURT OF FULTON COUNTY
                                     STATE OF GEORGIA

                                                       )
IN RE 2 MAY 2022 SPECIAL PURPOSE                       )      No. 2022-EX-000024
GRAND JURY                                             )


                   BRIEF OF MEDIA INTERVENORS IN SUPPORT OF
                  THE PUBLIC FILING OF THE GRAND JURY REPORT

       The Atlanta Journal-Constitution; American Broadcasting Companies, Inc.; The

Associated Press; Bloomberg L.P.; Cable News Network, Inc.; CMG Media Corporation and its

television station WSB-TV; Dow Jones & Company, publisher of The Wall Street Journal;

Gannett Co., Inc. and its newspapers USA Today, the Athens Banner-Herald, The Augusta

Chronicle, and the Savannah Morning News; Gray Media Group, Inc. and its television station

WANF; The New York Times Company; Tegna Inc. and its television station WXIA-TV; and

Yahoo Inc. and its news publication Yahoo News (collectively, "Media lntervenors")

respectfully file this brief in support of the public release of the special purpose grand jury's final

report (the "Report").

                                         INTRODUCTION

       On the morning of Wednesday, November 4, 2020- the day after Georgia citizens had

finished casting their votes in the 2020 Presidential Election - the focus of the nation turned to

Georgia. As poll workers continued to tabulate votes, it became clear that, by the narrowest

margins, the voting results in Georgia and a small group of other states would determine the

outcome of the Presidential election.

       In the days and weeks that followed, enormous controversy and confusion descended on

the State. Without credible evidence, an array of public officials, paid advocates, and private

citizens spread allegations that voting fraud had been rampant in Georgia. The claims of fraud
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were aimed with particular force at Fulton County where, for example, routine video of vote

·counting at a tabulating center was mischaracterized as illegal ballot stuffing using a "suitcase"

of fake ballots. As pressure mounted in the weeks that followed, then-sitting President Donald J.

Trump made a recorded telephone call to Georgia's Secretary of State asking for the assistance

of the Secretary's Office to "find" more than 11,000 votes.

        These and many other events from the post-election time-period have raise~ serious

questions about whether the State's election system was subjected to a pr~meditated attempt to

distort the 'results of the Presidential election. This question has been one of enormous public

interest not just to Georgians, but also to citizens throughout the United States. The scale and

scope of news organizations filing this briefreflect the profound public interest in this issue: 1

        In January 2022, at the request of District County Attorney Fani Willis, the Judges of the

Fulton County Superior Court voted to convene an investigative mechanism that has existed in

Georgia for decades - a special purpose grand jury. Like numerous other states, Georgia law

authodzes "special" grand juries to conduct detailed and patient examinations of public

controversies by giving them authority to investigate "any alleged violation of the laws of this

state or any other matter subject to investigation by grand juries as provided by law." O.C.G.A §

15-12-l00(a).

        In a January 24, 2022 Order approving District Attorney Willis' request, then-Chief

Judge Christopher Brasher stated that the authorization given the special purpose grand jury

would encompass the making of"presentments and reports." He wrote:



1 In Exhibit A to this Brief, Media Intervenors have submitted a listing oflinks   to examples of
news reports published and/or broadcast by them on the newsworthy issues relating to the special
purpose grand jury's investigation reflecting the extensive public interest in this matter.



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       This authorization shall include the investigation of any overt acts or predicate
       acts relating to the subject of the special purpose grand jury's investigative
       purpose. The special purpose grand jury, when making presentments and reports,
       pursuant to O.C.G.A §§ 15-12-71 ,and 15-12-101, may make recommendations
       concerning criminal prosecution as it shall see fit.

       Armed with this authorization, the special purpose grand jury subpoenaed evidence and

witness testimony from a wide array of individuals, public officials, and government entities for

approximately seven months. Although the proceedings of the grand jury remained confidential,

efforts by certain subpoenaed witnesses to avoid providing testimony or evidence - including

legal efforts by some of the most senior officials in State and federal government - played out

publicly in courtrooms in this State and elsewhere around the nation.

       By its Order issued on January 9, 2023 (the "Order"), the Court informed the public and

press that the special purpose grand jury had "issued its final report pursuant to O.C.G.A. § 15-

12-l0l(a)."   Based upon the completion of the report and with the approval of a majority of the

Fulton County Superior Court bench, the Court dissolved the special purpose grand jury and

thanked the grand jurors for their service.

       In the Order, the Court observed that the only remaining question concerned the

"publication" of the Report. The Court explained that the special purpose grand jury "certified

that it voted to recommend that [the Report] be published pursuant to O.C.G.A. § 15-12-80."2

The Court noted that this "publication" statute "appears to apply to the work of special purpose

grand juries" by virtue of the incorporation provision set forth at O.C.G.A. § 15-12-102, but also



2 O.C.G.A. § 15-12-80 provides as follows: "Grand juries are authorized to recommend to the

court the publication of the whole or any part of their general presentments and to prescribe the
manner of publication. When the recommendation is made, the judge shall order the publication
as recommended. Reasonable charges therefor shall be paid out of the county treasury, upon the
certificate of the judge, as other court expenses are paid."



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observed that it remained "unresolved" whether "the special purpose grand jury's final report

constitutes a presentment."

        In its Order, the Court invited argument on this issue by the District Attorney's Office

and any consolidated media intervenors. In advance of providing argument on January 24, 2023,

the Media Intervenors offer this brief in support of their position that the Report is a court record

subject to a presumption of openness under Uniform Superior Court Rule 21, the First

Amendment to the United States Constitution and Article I, Section 1, Paragraph 5 of the

Georgia State Constitution. Media Intervenors respectfully submit the presumption of openness

that applies to the Report cannot be overcome in this matter. The public interest in the Report is

extraordinary, and there are no countervailing interests sufficient to overcome the presumption.

The Court should file the Report in the public docket and publish it pursuant to O.C.G.A. § 15-

12-80 as the special purpose grand jurors have requested.

                                           ARGUMENT

I.      GRAND JURY REPORTS, INCLUDING THE REPORT IN THIS MATTER, ARE
        COURT RECORDS SUBJECT TO A PRESUMPTION OF OPENNESS.

        A.     Georgia Law Has Evolved to Strongly Favor Public Access to Court
               Documents, Including the Indictments, Presentments and Reports Returned
               by Grand Juries.

        The United States Supreme Court has repeatedly recognized that public access to the

judicial system is not only deeply ingrained in the history of our system but also is an

"indispensable" attribute of our judicial system protected by the First Amendment to the United

States Constitution. Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 573 (1980). The

Court recognized in Richmond Newspapers that public scrutiny of the court system is essential to

its institutional well-being for numerous reasons, including because it is vital to obtaining the




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public's trust. "People in an open society do not demand infallibility from their institutions, but

it is difficult for them to accept what they are prohibited from observing." 448 U.S. at 572.

       In conjunction with the U.S. Supreme Court's recognition of the protections afforded by

the First Amendment, the Georgia Supreme Court has held that the Georgia Constitution

independently requires our judicial system to operate in an open and public manner.

       This court has sought to open the doors of Georgia's courtrooms to the public and
       to attract public interest in all courtroom proceedings because it is believed that
       open courtrooms are a sine qua non of an effective and respected judicial system
       which, in turn, is one of the principal cornerstones of a free society.

R. W. Page Corp. v. Lumpkin, 249 Ga. 576, 576(1), 292 S.E.2d 815, 817(1) (1982). Indeed, Page

makes clear that in the criminal context Georgia law is "more protective of the concept of open

courtrooms than federal law." 249 Ga. at 578.

       Side by side with preserving open court proceedings, the Georgia Supreme Court has

embraced the importance of keeping court records available and accessible to the public. The

United States Supreme Court recognized constitutional rights of access to court records in a

series of decisions in the late 1970's and 1980s. See generally Press-Enterprise Co. v. Superior

Court, 478 U.S. 1 (1986) ("Press-Enterprise If'); Press-Enterprise Co. v. Superior Court, 464

U.S. 501 (1984) ("Press-Enterprise I"); Nixon v. Warner Communications, Inc., 435 U.S. 589,

597-98 (1978) ("It is clear that the courts of this country recognize a general right to inspect and

copy public records and documents, including judicial records and documents" ); In re

Application of CBS, Inc., 828 F.2d 958,959 (2d Cir. 1987) (characterizing existence of right of

public access to criminal court records as "beyond dispute") (citation omitted).

        Contemporaneously with the Unites States Supreme Court's decisions, the Georgia

Supreme Court embraced the importance of keeping court records accessible to public inspection

by enacting Uniform Superior Court Rule 21, which creates a presumptive right to inspect all


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court records, and by infusing the Rule with substance in a series of forceful decisions rejecting

efforts to seal court files. Most notably, in Atlanta Journal & Atlanta Constitutionv. Long, the

Georgia Supreme Court reversed a trial court order sealing a civil case file after the settlement of

a lawsuit claiming sexual abuse by the Catholic Diocese of Savannah. The Court found that "the

privacy interests of the appellees in the pre-judgment records of this civil suit do not clearly

outweigh the public interest in open access to those records." 258 Ga. 410,411,369 S.E.2d 755,

760 (1988); see also In re TheAtlanta Journal-Constitution,271 Ga. 436,438,519 S.E.2d 909,

912 (1999) ("[J]ustice faces its greatest threat when courts dispense it secretly." (quoting Long,

258 Ga. at 411)).

       Of course, with respect to grand jury proceedings, the Georgia Supreme Court has always

acknowledged the calculation about access to court records must be approached with special

care. The Court has frequently noted that secrecy plays a very important role in connection with

the investigations conducted by these judicial bodies. See, e.g., In re Gwinnett County Grand

Jury, 284 Ga. 510,512,668 S.E.2d 682,684 (2008) ("There is no doubt that the preservati9n of

the secrecy of grand jury proceedings is ... a well-recognized principle in Georgia." (quoting In
                     '
re Hall County Grand Jury Proceedings,175 Ga. App. 349, 333 S.E.2d 389 (1985))). However,

decisions from the Georgia appellate courts have consistently emphasized that the outcomeof
 '--
grand jury proceedings must be shared with the public to protect against public distrust of "star

chamber court proceedings."

       In commenting on the importance of the indictment being returned in open court, the

Court of Appeals explained:

       The judge is the court for the reception of indictments only when he is presiding
       in open court. There must be a judge presiding, the clerk must be present, and the
       place of the reception of the indictment must be one where the court is being held
       open to the public. Cadle v. State, IOI Ga. App. 175, 180,.113 S.E.2d 180 (1960).


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       "It is a fundamental part of our judicial system that the general public be
       permitted to witness court proceedings sufficiently to guarantee that there may
       never be practiced in this State secret or star-chamber court proceedings, the
       deliberations of the juries alone excepted." Zugar v. State, 194 Ga'. 285, 289-290,
       21 S.E.2d 647 (1942). "It is not enough to know that in this State there is hardly a
       chance that bogus indictments for personal spite will be filed in our courts. The
       preservation of the honor and purity of the courts, the confidence and respect of
       the public in those courts, and the good name of the citizens must not be left to
       chance .... " Zugar, supra at 291.

State v. Byrd, 197 Ga. App. 661,399 S.E.2d 267, 268-69 (1990); see also Zugar v. State, 194 Ga.

285, 289-290, 21 S.E.2d 647 (1942) (requiring openness in return of indictment by grand jury:

"public officials are made conscious of the duty to faithfully perform official acts when they are

acting in the presence of the general public; and this fact causes the' public to have confidence in

the officials, and hence confidence in the governmental departments where such officials serve").

       More recently, in Olsen v. State, 302 Ga. 288, 806 S.E.2d 556 (2017), the Georgia

Supreme Court noted that the secrecy afforded to Georgia grand juries has been curtailed at

times by the General Assembly and now is focused most specifically on "the deliberations" of

grand juries and less on its evidentiary phase. The Court remarked that "[n]otably, the oath of

secrecy no longer extends to the State's attorney, and even the grand jurors' oath encompasses

only deliberations and not all things occurring in the grand jury room." Id. at 290-91. The Court

explained that they presumed this was the intent of the General Assembly and therefore

"decline[ d] to extend the requirement of secrecy applicable to grand jury proceedings in Georgia

beyond that which is currently imposed by statute." Id. at 291.

       It is in this legal context that Georgia's precedent on grand jury presentments and reports

                                                  '
must be considered. When examined in light of the evolution of Georgia law on public access to

court records, the precedent demonstrates the Report is subject to a presumption of public access
                   '

under Uniform Superior Court Rule 21.



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       B.      Georgia's Precedent on Grand Jury Reports and Presentments Compels a
               Finding that the Report is a Court Record and, therefore, Presumptively
               Public under Rule 21.

       Investigative grand juries have played an important role in Georgia's judicial history. As

our Supreme Court has observed since their roots in colonial times, "[t]hrough presentments and

other customary reports, the American grand jury in effect [has] enjoyed a roving commission to

ferret out official malfeasance or self-dealing of any sort." In re Gwinnett County Grand Jury,

284 Ga. at 512 (quoting Akhil Reed Amar, The Bill of Rights: Creation and Reconstruction 85

(1998)). "There is a consensus among courts and commentators that, historically, common law

grand juries performed a public reporting function by identifying official
                                                                        , I
                                                                            misconduct without

initiating prosecutions." Barry J. Stem, Revealing Misconduct by Public Officials Through

Grand Jury Reports, 136 U. Pa. L. Rev. 73, 76 (1987)

(https://scholarship.law.upenn.edu/penn law review/vol136/issl/3). As commentators have

observed, "the reporting function can be viewed as a device that forces government to police

itself. Public confidence in the accountability of government is then furthered by requiring

government to identify its own misconduct." Id. at 92.

       While acknowledging that the public reporting function of investigative grand juries

provides a powerful tool to expose wrongdoing, Georgia's appellate courts have recognized that

investigative grand juries should be supervised to prevent grand juries from exceeding the scope

of their legal authorization. As the Court of Appeals explained in In re Floyd County Grand

Jury Presentments for May Term 1996, 225 Ga. App. 705,484 S.E.2d 769 (1997), the

responsibility of a supervising judge is to make sure the grand jury stays within the scope of its

statutory authority.



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        Since the grand jury proceedings are secret, OCGA § 15-12-73, it is possible that
        a grand jury as a group oflay-persons can exceed the scope of their authority and,
        because of their membership, become involved in politics and in local feuds. It is
        for this reason that a superior court judge supervises the grand jury and has the
        duty to scrutinize, receive, and order filed the presentment of the grand jury.

Id. at 707 (citations omitted). 3

        While empowering judges to supervise grand juries to avoid their involvement in

"politics and local feuds," the Court of Appeals has also emphasized that the supervising judge

has no authority to expunge or redact a grand jury's report so long as the grand jury is acting

within its mandate. In 2004, the Court of Appeals clarified the limited role of a supervising court

that was asked to expunge a grand jury presentment regarding Vernon Jones, the CEO of DeKalb

County. In In re July-August, 2003 DeKalb County Grand Jury, 265 Ga. App. 870, 595 S.E.2d

674 (2004), the Court of Appeals conducted a detailed review of the history of appellate

decisions addressing grand jury reports over more than 40 years and emphasized that the role of

the supervising courts was confined to expunging statements based on "ultra vires acts of the

grand jury." Id at 873. Tue Court of Appeals rejected Jones' attempts to read Georgia

precedent more broadly.

        There is nothing in [Georgia precedent on grand juries] that mandates the
        expungement of an entire presentment after the trial judge appropriately redacts
        all ultra vires criticism. Kelley v. Tanksley [] and In re Hensley [] allowed the
        presentments to be filed and published after the ultra vires matters were
        expunged. 4
3 In the legal authority the Court of Appeals cited to support the above-referenced   statement
about the filing of presentments, the Court first cited O.C.G.A.§ 15-12-80, the statute that
requires the supervising judge to file and "publish" a presentment when requested by a grand
jury. Id Immediately, thereafter, the Court cited the statutes that authorize and empower special
purpose grand juries, specifically O.C.G.A.§§ 15-12-100 and 15-12-101. Id. The sequence of
these citations supports the interpretation that the publication requirement applies to special
purpose grand juries through the incorporation clause contained in O.C.G.A.§ 15-12-102.
4 Id. The Court cited decisions in Thompson v. Macon-Bibb County Hosp. Auth., 246 Ga. 777,
273 S.E.2d 19 (1980); In re Floyd County Grand Jury Presentments, 225 Ga. App. at 707; In re


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       Based on its detailed review of Georgia precedent, and after the limited redaction of

certain ultra vires content, the Court of Appeals affirmed the supervising court's decision to file

a grand jury's report that addressed the conduct of Jones in his official capacity.

       Georgia's history of decisions requiring the public filing and publication of grand jury

reports was significantly reinforced by the Georgia Supreme Court's 2008 decision in In re

Gwinnett County Grand Jury, 284 Ga. at 512. In Gwinnett County Grand Jury, the Georgia

Supreme Court had its first opportunity to address the issue of grand jury records and reports in

the aftermath of the United States' Supreme Court's series of decisions recognizing the public's

constitutional right to court records under the First Amendment. 5 The decision also followed the

Georgia Supreme Court's own precedent emphasizing its perspective that public court records

"protect[] litigants both present and future" because "[o]ur system abhors star chamber

proceedings with good reason. " 6

       Not surprisingly, rather than looking to dated precedent, the Supreme Court's decision in

Gwinnett County Grand Jury squarely addressed the issue of access to grand jury records and

reports under the modem constitutional standards that inform Uniform Superior Court Rule 21.

In determining whether Gwinnett County could obtain the records of a grand jury that examined

the dissolution of the County's Office oflntemal Audits, the Court explained,




Hensley, 184 Ga. App. 625,. 362 S.E.2d 432 (1987); In re Gwinnett County Grand Jury
Proceedings, 180 Ga. App. 241,348 S.E.2d 757 (1986); Harris v. Edmonds, 119 Ga. App. 305,
166 S.E.2d 909 (1969); Kelley v. Tanksley, 105 Ga. App. 65, 123 S.E.2d 462 (1961); and 1996
Op. Atty. Gen. No. U96-15.
5 See generally supra at p. 4-5 (citing Press-Enterprise Co. v. Superior Court, 478 U.S. 1 (1986)
("Press-Enterprise If'); Press-Enterprise Co. v. Superior Court, 464 U.S. 501 (1984) ("Press-
Enterprise I"); Nixon v. Warner Communications, Inc., 435 U.S. 589, 597-98 (1978)).



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       [Uniform Superior Court Rule 21 ], adopted by this Court and the Council of
       Superior Court Judges, states that "[a]ll court records are public and are to be
       available for public inspection unless public access is limited by law or by the
       procedure set forth below." The rule embodies the right of access to court records
       which the public and press in Georgia have traditionally enjoyed.

Id. at 511. The Court found that the presumption of openness applies to judicial records to which

the public and press have traditionally enjoyed access "when a judicial document is filed." Id.

(quoting Long, 258 Ga. 410). The Court noted it had extended this rule even to "an official court

reporter's tape of remarks made by ajudge in open court." Id. (citing Green v. Drinnon, Inc.,

262 Ga. 264,417 S.E.2d 11 (1992)). 7

       Guided by this standard, the Court ultimately determined that "evidence and testimony

presented to a grand jury" as part of its investigation were not court records to which the public

had a "presumptive right of access" because "the press and public have not traditionally enjoyed

access to such material due to the preservation of the secrecy of grand jury proceedings." Id at

513 (citation omitted). In contrast, however, the Court held the presentment made by a grand

jury "is a court record under Uniform Superior Court Rule 21 that is available for public

inspection unless public access is otherwise limited by law or by [Rule 21]." Id. at 513-14.

       The Gwinnett County Grand Jury decision demonstrates the Report should be

presumptively public. It has been filed with the Court by virtue of its delivery to the supervising

judge. It is a judicial record that memorializes the determinations of a properly convened special


6 See generally supra at p. 5-6 (citing Atlanta Journal & Atlanta Constitution v. Long, 258 Ga.

410,411 (1988)).
7 The Court subsequently elaborated on the presumption of public access to all judicial
documents filed with the court in Undisclosed LLC v. State, 302 Ga. 418, 431, 807 S.E.2d 393,
403 (2017) ("Materials admitted into evidence, that call for court action, or play a central role in
the adjudicative process are part of the judicial record, so long such materials are on file with the
court.").



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purpose grand jury with a broad mandate. There is no basis to contend the special purpose grand

jury acted in an ultra vires manner. Under such circumstances, grand jury reports are not just the

type of judicial record that are "traditionally" available to the public; they are the type of judicial

record that is "published" at County expense.pursuant to O.C.G.A.§ 15-12-80.8'

        Just as with the presentment in Gwinnett County Grand Jury, the Report should be made

public. 9




8 An example of a Superior Court Order directing a county clerk to publish a Special Purpose
Grand Jury Final Report under O.C.G.A. § 15-12-80 can be found at Exhibit B. The exhibit is an
Order issued by DeKalb Supe,rior Court Judge Gregory Adams requiring the publication of the
"Final Report" of a Special Purpose Grand Jury impaneled on January 20, 2012, in connection
with controversies relating to the DeKalb County Department of Watershed Management.
Pursuant to the Order, the final report was published in DeKalb County's legal organ, The
Champion Newspaper and remains online: http://thechampionnewspaper.com/wp-
content/uploads/2013/08/000SpecialPurposeGrandJuryFinalReport.pdf. A true and correct copy
of the final report is attached as Exhibit C. CEO Burrell Ellis was subsequently prosecuted after
the publication of the final report, but no challenge to the publication ofthe final report was
raised in his appeal. See Ellis v. State, 300 Ga. 371, 794 S.E.2d_601 (2016).
9 The presumption in Georgia law that grand jury reports will be made public is consistent with
the law of other states. See generally Miami Herald Publishing Co. v. Marko, 352 So.2d 518, ,
523 (Fla. 1977) (affirming release of grand jury report and noting "[t]he benefits to be derived
from this extraordinary exercise in citizen participation would' be severely limited if the fruits of
that activity were not available to the public on whose behalf it is undertaken."); In re Final
Report of the 29th Statewide Grand Jury, 343 So.3d 584 (Fla. Dist. Ct. App. 2022) (ordering
release o( all but two paragraphs of grand jury report following Marjory Stoneman Douglas
school shooting), reh 'ring denied, 343 So.3d 600 (Fla. Dist. Ct. App. 2022), review denied sub
nom. D.K. v. Final Report of 20th Statewide Grand Jury, No. SC22-983, 2022 WL 3573084 (Fla.
Aug. 19, 2022, and review denied sub nom. Murray v. Final Report of 20th Statewide Grand
Jury, No. SC22-1108, 2022 9801736 (Fla. Oct. 17, 2022); Matter of Report of Washoe Cnty.
Grand Jury, 95 Nev. 121, 128, 590 P.2d 622 (1979) ("[T]he report was generally issued in the
legitimate community interest, and [the interested target], with one exception, has not
demonstrated that justice requires further expungement.") People v. Super. Ct., 13 Cal.3d 430,
434, 531 P.2d 761 (1975) (holding that courts may only seal portions of grand jury reports that
"extend beyond the legal boundaries of the grand jury's broad reportorial power").



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        C.     Our Courts and the General Assembly Have Not Attempted to Distinguish
               "Presentments" from Grand Jury "Reports," so Construing O.C.G.A. § 15-
               12-80 as Applicable to the Report is Appropriate and Required by the
               Federal and State Constitution.

        In its Order, the Court noted it was "unresolved" whether the "special purpose grand

jury's final report constitutes a presentment" subject to the publication requirements of O.C.G.A.

§ 15-12-80. Order at 2. However, the term "presentment" and "report" have been used

interchangeably for decades by the Georgia judiciary, the General Assembly, and courts in other

jurisdictions. There is no basis to find that the Report is outside the scope of the mandatory

"publication" requirement ofO.C.G.A. § 15-12-80.

       In the historical development of grand juries, a presentment was a criminal charge

initiated by the grand jury based on its own knowledge, not at the request of prosecutors. 4 W.

BLACKSTONE, COMMENT ARIES *298. Today, the use of a grand jury "presentment" to

initiate a criminal prosecution is obsolete in Georgia and in most other jurisdictions. Instead,

Georgia employs the term "special presentment" to identify a charging instrument initiated by

the grand jury that effectively functions as an indictment. See O.C.G.A § 15-12-74(b). "In this

state the difference between an indictment and a special presentment has been abolished, with

respect to the requirements of law in regard to trials under them, a mere technical distinction

remaining that in an indictment the accusation is presented by a prosecutor, and in a special

presentment it is preferred by.the grand jury without a prosecutor." Carmichael v. State, 228 Ga.

834,837, 188 S.E.2d 495,497 (1972) (citation omitted).

       Based on this development, the modem legal practice is to refer interchangeably to the

written account ofan investigation delivered by a grand jury as either a "report" or

"presentment" or "general presentment" when it is not for the purpose of initiating criminal


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 proceedings. Regardless of the legal vernacular used, each term refers to a document that is in

 substance a report. This is true in Georgia. See, e.g., In re Presentmentsof Lowndes County

 GrandJury, 166 Ga. App. 258, 304 S.E.2d 423 (1983) (referring interchangeably to

 "presentments" against members ofa city police department as "reports"); Kelley, 105 Ga. App.

 at 66 ("The report of the grand jury sought to be expunged from the records in the instant case

 was not a special presentment or true bill of indictment charging any individual with the

 violation of the penal laws of this State. It was in the nature of a general presentment or

. recommendation in which the grand jury took note of an unsolved theft involving county funds

 which occurred on county property"). The equivalence of the words "general presentment,"

 "presentment" and "report" has also been noted in other jurisdictions. See, 'e.g.,In re: Final

 Report of the 20th Statewide GrandJury, 343 So.3d at 588 ("We will refer to the statewide grand

 jury's report interchangeably as either a report or presentment in this opinion."). 10

         Because there is no legally meaningful distinction between a "general presentment" and

 a "report" when issued by the grand jury, there is no basis to contend that the publication

 requirement contained in O.C.G.A. § 15-12-80 is not applicable to special purpose grand juries.




 10 The Georgia General Assembly amended O.C.G.A. § 15-12-71 in 2016 to permit local grand
 juries to examine controversies relating to law enforcement's use of deadly force. In amending
 the law, the General Assembly also referred to "presentments" and "reports" interchangeably as
  documents that could be issued by the grand jury while bringing charges and stated that both
 would be subject to O.C.G.A. § 15-12-80. See Georgia Laws 2016, Act 350, § 1, (eff. July 1,
  2016) (adding subsection (e)(l) to O.C.G.A. § 15-12-71: "If the grand jury conducts a review [in
  connection with a peace officer's use of deadly force], and the grand jury does not request that
 the district attorney create a bill of indictment or special presentment, the grand jury shall
 prepare a report or issue a general presentment based upon its inspection, and any such report or
  presentment shall be subject to publication as provided for in Code Section 15-12-80").



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The Court correctly observed in its Order that O.C.G.A. § 15-12-102 11 incorporates the

statutory procedures of regular grand juries into the operation of special purpose grand juries

unless the procedures of the special grand jury are "otherwise provided" for in the authorizing

statute. There is no conflicting provision that "otherwise" speaks to the publication or secrecy°

of special purpose grand jury reports. Accordingly, O.C.G.A. § 15-12-80 applies to the

Report. 12

        This result is particularly clear in the aftermath of the Georgia Supreme Court's decision

in Olsen v. State, 302 Ga. 288 (2017). In Olsen, the Georgia Supreme Court emphasized it

would not "extend the requirement of secrecy applicable to grand jury proceedings in Georgia" •

unless there was a clear mandate "imposed by statute." Id. The General Assembly could easily

have required by statute that the reports of a special purpose grand jury be maintained by the

supervising court in secret, but they imposed no such rule in the enabling legislation.

        Various courts have recognized that the right of access to court records is grounded not

just in the common law, but also in constitutional principles protecting the public's right of

access to information about goverrunent. See, e.g., In re Providence Journal Co., 293 F.3d 1,

10-13 (I st Cir. 2002) ("Apart from the prerogatives attendant to the common-law right of access

to judicial records, the public and the press enjoy a constitutional right of access to criminal

proceedings under the First and Fourteenth Amendments."); Phoenix Newspapers v. U.S. Dist.

Court, 156 F.3d 940,948 (9th Cir. 1998); United States v. Antar, 38 F.3d 1348, 1359-60 (3d Cir.


11 O.C.G.A. § 15-12-102 states that, "[e]xcept as otherwise provided by this part [governing

special purpose grand juries], Part I [governing regular grand juries] of this article shall apply to
the grand juries authorized by this part."
12 See also Exhibit B (Order of DeKalb County Superior Court Chief Judge requiring publication

of a special purpose grand jury's "Final Report" under O.C.G.A. § 15-12-80).



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1994); Globe Newspaper Co. v. Pokaski, 868 F.2d 497, 505 (1st Cir. 1989); In re Search

Warrant, 855 F.2d 569, 573 (8th Cir. 1988). An interpretation of the mandatory publication

requirement set forth in O.C.G.A. § 15-12-80 that allowed supervising courts to 'set the

requirement aside without a constitutionally meaningful showing of harm would violate not just

the common law, but also the First Amendment to the U.S. Constitution and Article I, Section 1,

Paragraph 5 of the Georgia State Constitution (protecting the right of "every person" to "publish

sentiments on all subjects").

       The Report is subject to publication under O.C.G.A. § 15-12-80.

IL     NEITHER THE STATE NOR ANY OTHER PARTY CAN MAKE A
       COMPELLING CASE THAT EXPUNGEMENT OR SEALING IS WARRANTED
       HERE.

       The presumption of openness that applies to the Report cannot be overcome. Georgia

law provides two paths through which the State or an interested party may seek to restrict all or

portions of the Report in extraordinary circumstances: (1) though expungement of ultra vires

content contained in the Report; (2) through a motion to seal pursuant to Uniform Superior Court

Rule 21. Neither have merit here.

       A.      There is No Basis to Expunge Any Portion of the Report.

       As set forth above, under Georgia law courts have historically expunged portions of a

report or presentment deemed "ultra vires," i.e., containing "statements" that arise from

investigative activity outside the scope of the grand jury's mandate. In this case, the special

purpose grand jury's mandate was extraordinarily broad. The special purpose grand jury was

authorized to investigate "facts and circumstances relating directly or indirectly to possible

attempts to disrupt the lawful administration of the 2020 elections in the State of Georgia."

January 20, 2022 Letter of District Attorney Fani Willis to Chief Judge Christopher Brasher; see



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also January 24, 2022 Order Approving Request for Special Purpose Grand Jury Pursuant to

O.C.G.A. § 15-12-100, et seq. ("The special purpose grand jury shall be authorized to investigate

any and all facts and circumstances relating directly or indirectly to alleged violations of the laws

of the State of Georgia, as set forth in the request of the District Attorney referenced herein

above.").

       Pursuant to O.C.G.A. § 15-12-l0l(a), the special purpose grand jury has been

"supervise[ d] and "assist[ ed]" throughout its investigation. Various motions relating to the

proper scope of testimony and evidence have been heard. There is simply no indication that

anything in the Report exceeded the scope of the special purpose grand jury's authority in a

manner that would be appropriate for expungement.

        B.        Ther~ is No Basis to Seal Any Portion of the Report Pursuant to Rule 21.

        In addition, as noted above, the Report is a court record, so it is subject to sealing only
              '    '                                                                     '



under the demanding standards of Uniform Superior Court Rule 21. See generally In re                    /


Gwinnett County Grand Jury, 284 Ga. at 513-14.

        The Georgia Supreme Court has articulated the standard for sealing as requiring a finding

that the movants' privacy clearly outweighs the public interest in disclosure. Long, 258 Ga. at

413. The burden of demonstrating that court records should be sealed is on the party seeking the

sealing, and the Court must make factual findings on the record supporting the sealing order. Id.;

see also In re Atlanta Journal-Constitution, 271 Ga. at 438 ("[I]t is not sufficient for the trial

court to forego making findings of fact and simply state that the public's 'interest in access to

court records is clearly outweighed by potential harm to the parties' privacy"). The burden is

intended to require public access in all cases except those involving a "clear necessity." Long,

258 Ga. at 413, 369 S.E.2d at 758; see also Merchant Law Firm, P. C. v. Emerson, 301 Ga. 609,



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613,800 S.E.2d 557 (2017); see also Long, 258 Ga. at 413 ("In designing USCR 21, this court

and the council of superior court judges ... incorporated the presumption that the public will

have access to all court records.").   .

        This standard is and is intended to be a difficult one to satisfy. Indeed, in enforcing the

State's commitment to open courtrooms and court records, Georgia courts have consistently

emphasized, for example, that embarrassment and reputational harm are not sufficient interests to

justify sealing. See, e.g., In re Atlanta Journal-Constitution, 271 Ga. at 438 (reversing trial court

order sealing probate case involving claim by illegitimate child seeking portion of the estate of

former owner of The Atlanta Falcons: "[C]ivil lawsuits quite often cause litigants to experience

an invasion of privacy and resulting embarrassment, yet that fact alone does not permit trial

courts to routinely seal court records"); Long, 258 Ga. at 413 (reversing trial court order sealing

case file and holding that the privacy interests of Catholic Diocese of Savannah "do not clearly

outweigh the public interest in open access to those records").

        There is no basis for sealing here. This investigation has been a matter of profound

public interest that goes to the heart of the nation's democratic forms of government. Much of

the matters before the special purpose grand jury are already public knowledge through related

federal and state court proceedings and Congressional hearings. There is quite simply no "clear

and convincing proof' that sealing, either in whole or in part, is warranted.

                                           CONCLUSION

        The Georgia Supreme Court has explicitly stated that it would "decline to extend the

requirement of secrecy applicable to grand jury proceedings beyond that which is currently

imposed by statute." Olsen, 302 Ga. at 291. There is no basis to do so here. The Media




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Intervenors respectfully request that the Report be publicly filed and published as the special

purpose grand jurors have requested.

       Dated this the 23rd day of January, 2023

                                              Respectfully submitted,

                                       FOR: KILPATRICK TOWNSEND & STOCKTON LLP




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                         INTIIBSUPERIORCOURTOFDEKALBCOUNTY
                                     STATE OF GEORGIA



      IN RE SPECIAL PURPOSE                      )
      GRANDJURY                                  )
                                                 )ADMINISTRATIVE ORDER NO. 13CVI024
                                                 )
                                                 )


              A Special Purpose ·Grand Jury was impaneled on January 20, 2012 pursuant to

      O.C.G.A. § 15-12-100 to investigate the facts and circumstances surrounding the bidding,
                                                           '
      awarding and_management of contracts, as well as the policies and procedures of, and any

      payments made under and for any contracts by, the DeKalb County Department of

     •WatershedManagement during the period of January 1, 2002 through December 31,

     2010.

             On August 15, 2013, Presiding Judge Mark Anthony Scott delivered a copy of the

     Special Purpose Grand Jury's Final Report to Chief Judge Gregory A. Adams. The Final

     Report is dated January 18, 2013.

             As required by O.C.G.A. § 15-12-l0l(b), Chief Judge Gregory A. Adams

     convened a meeting of the Superior Court Judges on August 19, 2013 and reported to

     them the Presiding Judge's recommendation that the Grand Jury be dissolved. A

     majority of the Superior Court Judges at the meeting voted to accept the Final Report, file

     the Final Report and dissolve the Special Purpose Grand Jury.

             Accordingly, the Special Grand Jury is ht;reby dissolved instanter.




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      The Final Report, having been presented, it is hereby ordered that the same be

filed with the Clerk of this Court and spread among the minutes thereof.

      It is also oi:dei:edi:hattheFmaiReport be published.pursuant to O.C.G.A. § is-12- •·····

80 as legal notice in the official legal organ of the county, The ChampionNewspaper,at

least once with the costs to be paid from the general funds of DeKalb County.

                                             I   j.,,
                    SO ORDERED this      b              of August,



                                                              oryA.Adams
                                         Supenor             fDeKalb County
                                         Stone Mo            Judicial Circuit




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                 Stone Mountain Judicial Circuit

    PRESENTMENT OF THE SPECIAL PURPOSE GRAND JURY

                              2012-2013

                     CIVIL CASE# 12CV1000



             HONORABLE MARKANTHONY SCOTT,
             PRESIDING JUDGE, SUPERIOR COURT


                HONORABLE ROBERT D. JAMES
                    DISTRICT ATTORNEY




                                                                 1
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        DEKALBCOUNTY SPECIALPURPOSEGRAND JURY PRESENTMENT
                 JANUARY2012- JANUARY2013 TERM


    TO THE HONORABLEJUDGES:                        COURTNEYL. JOHNSON
                                                   ASHAJACKSON
                                                   CLARENCEF. SEELIGER
                                                   GREGORYA. ADAMS
                                                   CYNTHIAJ. BECKER
                                                   GAILC. FLAKE
                                                 • DANIELM. COURSEY,JR.
                                                   LINDAW. HUNTER
                                                   MARKANTHONYSCOTT
                                                   TANGELABARRIE

    of the SuperiorCourt of DeKalbCounty,Georgia,Stone MountainJudicial Circuit.

    This Special PurposeGrand Jury, sworn in by the HonorableMark Anthony Scott

   . In the DeKalb County SuperiorCourt on January20, 2012, respectivelysubmits

    the followingpresentment.



                           REQUESTFOR PUBLICATION



    Pursuantto O.C.G.A § 15-2-80,we the presentlyconstituted2012 Special Grand

    Jury of DeKalbCounty,recommendto the HonorableMarkAnthonyScott that this

    presentmentbe publishedin whole in the CountyLegalOrgan.




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    INTRODUCTION



    Historyand Scope of this InvestigativeGrand Jury


    GrandJury's formation

               Pursuant to O.C.G.A. § 15-12-100 et seq., on September 7, 2011, the

    District     Attorney   requested   that   a Special Purpose Grand Jury be

    impaneled. Superior Court Judgesvoted to approvethe request on November17,

    2011, and entered an Order on January 11, 2012, mandatingsuch. Accordingly,

    this Special Purpose Grand Jury was impaneled,sworn, and charged on January

    20, 2012.

           We,      as common      and ordinary     citizens   of   DeKalb   County,

    impaneled as the Special Purpose Grand Jury, recognize that we are

    privileged to serve our fellow citizens of DeKalb County. We recognize

    that we represent the common and ordinary citizens of DeKalb County

    and that we have a special charge to represent them in ensuring that

    their elected officials and hired personnel perform in a manner that is

    consistent with the laws and codes of the United States, the State of

    Georgia, and the County of DeKalb, Georgia.

           We heard testimonialevidenceand revieweddocumentaryevidence almost

    weekly since January 20, 2012. Additionally, we toured the Snapfinger Creek

    Advanced Wastewater Treatment Plant and interviewedits employees. We have

    followed the order and charge which impaneled the Special Purpose Grand Jury

    and inquired, in part, into procurement    practices of DeKalb County related to

    Department of Watershed Management (also known as DWM) contracts; the


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    structure of the Department of Watershed Management over time; and, the

    companies with which the Department of Watershed Management does business.

    In that regard, pursuant to our statutory authority, we

               •   compelled evidence;

               •   subpoenaed witnesses;

               •   inspected records, documents, correspondence,and books of the

                   various departments of DeKalb County government; and,

               •   required the production of records, documents, correspondence,

                   and books of persons, firms, and corporations which related directly

                   and indirectly to the subject of this investigation.

           The Special Purpose Grand Jury initially focused • on reports of

    incompetence, patronage, fraud and cronyism within the Department of Watershed

    Management that emerged during the Vernon Jones administration and the lasting

    impact of same on the services provided to citizens and any increased expense

    passed on to citizens. Over time, this body became very concerned with reports of,

    ongoing fraud and incompetence, most specifically those that impact areas of

    vendor selection, contract issuance and contract administration within the

    Department of Watershed Management and (as we learned eventually) in other

    County departments as well.

           The evidence reviewed by this Special Purpose Grand Jury calls into

    question the efficiency, transparency and the fairness of the procurement process

    to be utili:zed to facilitate the approximately $1.35 billion ($1,350,000,000.00)

    Capital Improvement Plan ("CIP") that is currently in its infancy stage, as well as

    other County operations for which outside vendors are to be utili:zed.



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     DeKalbCounty'sConsentDecree

            The CIP, consistingof eighty (80) plus constructionor rehabilitationprojects

     for the County's water collection system, includes projects mandated by the

     Consent Decree betweenthe County,the EnvironmentalProtectionAgency and

     the GeorgiaEnvironmentalProtectionDivision.The ConsentDecreearoseout of a

     Complaintfiled by the EPA and EPD alleging that DeKalb County violated the

     FederalWater PollutionControlAct, also knownas the CleanWater Act, and the

     Georgia Water Quality Control Act, and the associatedregulations.The State of

     Georgiajoined as a plaintiffin this action. The County,withoutadmittingliabilityto

     the EPA or the EPD arising out of the transactionsor occurrencesalleged in the
 I

     Complaint,entered a Consent Decreethat calls for improvementprojectsfor the

     County'sold and agingwater collectionsystemover a specifiedperiodof time.

            The projects included in 'the CIP total approximately1.35 Billion dollars

     ($1,350,0~0,000.00),of which approximately Seven Hundred Million dollars

     ($700,000,000.00)relate directly to the, improvementprojects mandated by the

     Consent Decree. The Special PurposeGrand Jury does not believe that the fair

     and efficientfacilitationof the projectsmandatedby the ConsentDecreeand those

     included in the larger CIP can be accomplishedthroughthe current procurement

     practicesof the County, particularlyin light of the ongoingand improperinfluence

     of CEO Burrell Ellis and otherson those practices.




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    THE RESULTSOF THE INVESTIGATION
                                  AND SPECIFICFINDINGS

    A. General


           DeKalb County has approximately 5,000 miles of water and sewer lines

    servicing its citizens. The mission of the DeKalb County Department of

    Watershed Management is to protect the public health, safety and welfare

    through the provision of safe drinking water and quality wastewater treatment.

           The DeKalb County Department of Water and Sewer was established in

    1942. In 1985, the department became a division of a larger Public Works

    Department. In addition to the estimated 5,000 miles of pipe in the distribution and

    collection systems, major facilities operated and maintained by the Department

    Includethe Scott Candler Water Filter Plant, the PoleBridgeAdvanced Wastewater

    Treatment Plant, the Snapfinger AdVancedWastewater Treatment Plant; and the

    DeKalb County Raw Water Pumping Station. The management of these fixed

    assets, totaling over a billion dollars, requires planning, operation, maintenance,

    and monitoring of the activities of DeKalb's Department of Watershed

    Management, its employees, and its construction activities.

           The Department of Watershed Management has approximately 670

    employees working within five internal divisions: Administrative Services,

    Construction & Maintenance, Filtration & Treatment, GIS/GPS Mapping & System

    Inventory, and Technical & Production Services.

           For the past ten years, the Department of Watershed Management has

    been building a countywide water and sanitary sewer GIS (Geographic Information

    System) as a tool for updating, mapping, and analyzing the water and sewer



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    distribution and collection network. The Department of Watershed Management

    GIS is a computer-based system used for geographic data creation, maintenance,

    storage, analysis and mapping. The system is being implemented by the GIS /

    GPS / Data Management Department.

            In December 2010, DeKalb County reached a Clean Water Act settlement

    in the form of a consent decree with the U.S. Environmental Protection Agency

    (EPA) and the Georgia Environmental Protection Division (EPD) that formalizes

    implementation of certain sanitary sewer system programs and improvements,

    many of which the County is already Implementing. These programs and

    improvements, which focus on the collection and transmission components of the

    County's sewers, are supposed to ensure long-term protection of public health and

    the environment, particularly with respect to the rivers and streams in the County.

    The programs and improvements will also ensure compliance with the federal

    Clean Water Act and the Georgia Water Quality Control Act, and will improve the

    viability of the County's sewers for generations to come.

           The consent decree provides a road map for working cooperatively with the

    EPA and EPD. All of the programs contained in the consent decree are included in

    the County's Department of Watershed Management Capital Improvement

    Program (CIP). The approximate cost of the CIP is $1.35 billion dollars and

    includes eighty (80) plus specified construction and rehabilitation projects.



    B. Historyof bribery,fraud and other crlmlnalactivitywithin DeKalbCounty
                                        I

           1. Bribery by Departmentof WatershedManagementEmployees

           The Grand Jury heard testimony pertaining to the November 201o



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    indictment of a DeKalb County Department of Watershed Management employee,

    Dameco Moss, who worked as a "Fats, Oil & Grease ("FOG") Inspector,• on

    charges of Bribery and Theft by Taking. The defendant entered a guilty plea in

    May 2011. After'the entry of the plea, the then Deputy Director of the Department

    of Watershed Management, Jo Ann Macrina, approached the District Attorney's

    Office and indicated that the corruption within the Department of Watershed

    Management was much more far reaching than this employee and the FOG

    program.

           The Deputy Director revealed that an investigation into allegations

    regarding invoice padding, contract fraud, and bid rigging within the Department of

    Watershed Management during the Jones administration had been initiated by

    Detective Jamie Payton of the DeKalb County Police Department in August 2009,

    This investigation centered on the Champion Tree Service easement contracts but

    was now being hindered by the administration within the DeKalb County Police

    Department.


           2. ChampionTree Service

           As a result of the meeting and subsequent interview of Deputy Director

    Macrina, the District Attorney's Office contacted the DeKalb County Police
                                          ,
    Department to inquire as to the status of the Department of Watershed

    Management investigation. The District Attorney's Office learned the DeKalb

    County Police Department had initiated a criminal investigation pertaining to two

    contracts between DeKalb County and Champion Tree Service. The investigation

    centered on allegations of,overbilling by Champion Tree Service which was owned

    and operated by Paul Champion.            The investigation quickly expanded to



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    allegationsthat Mr. Championhad internalassistancein the overbillingschemeby

    fonner Deputy Director Nadine Maghsoudlou'sbrother-in-law,Hadi Haeri, a

    contractemployeewith the County,and other countyemployeesto includeformer

    DeputyDirectorJohn Walker.

         , ChampionTree Servicewas awardedits first easementclearing contract

    with DeKalb County on June 24, 2003. The contract, administered by the

    Departmentof WatershedManagement,la~teduntil early 2006. ChampionTree

    Servicewas paid approximately$8,800,000.00underthe contract.

           In 2003, prior to the issuanceof the DeKalb contractto ChampionTree

    Service, Mr. Championwas approachedby Mr. Don Tyler, the principalat Video

    l_ndustrial
             Service, Inc., locatedIn D~catur,Alabama,to bid on tree and easement

    clearing contracts in DeKalb County.Mr. Tyler had met Mr. Championthrough a

    mutual friend in Birmingham,AL, where Mr. Championresided. At the time, Mr.

    Champion'ssmall tree servicebusinessmadeapproximately$50,000.00per year.

    His company had no ties to Georgia, much less DeKalb County, and had no

    experiencewith municipalcontractsfor ongoingeasementclearingservices.

           In exchangefor assistingMr. Championin obtainingthe lucrativeDeKalb

    contract, Mr. Tyler was to receiveeleven percent (11%) of the gross earningsof

    Mr. Champion on the contract as a ''finder'sfee". Mr. Tyler shared an unknown

    portionof the "finder'sfee• with Mr. Hadi Haeri.Accordingto a grandjury witness,

    Mr. Tyler introducedMr. Championto Mr. Haerl, but did not disclosethat Mr. Tyler

    and Mr. Haeri had an agreementto share the aforementioned''finder'sfee•. It

    should be noted, contingencyfee contractssuch as this are expresslyprohibited

    by the 2002 procurementrules.

         As noted,Paul Championbeganprovidingeasementclearingservicesto the

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        County in September 2003. Several months passed and Mr. Champion was not

        paid by DeKalb County. At the time, Mr. Hadi Haer! was working in an unknown

        capacity at the Department of Watershed Management under the supervision of

        Deputy Director John Walker.' Mr. Champion went to Mr. Haer! in order to gain

     assistance in getting DeKalb County to remit payment for his services. Mr. Haer!

    took Mr. Champion to Deputy Director John Walker, who called DeKalb County

    Finance and had a hold removed that allowed Mr. Champion to get.paid.

              The grand Jury heard evidence that Deputy Director John Walker, a Jones

    appointee, was known to be longtime close friends with former DeKalb County

    CEO Vernon Jones. Furthermore, Mr. Walker's twin brother, Jeff Walker, and his

    sister, Joy Walker, are also known to be longtime close friends of CEO Jones.

    Vernon Jones appointed Joy Walker as the Chief Judge of the ·DeKalb County

    Recorder's Court. She later resigned from this office in 201Oafter an investigation

    into criminal activity within Recorders Court was initiated by the District Attorney's

    Office.

              Mr. Paul Champion later entered into an agreement to pay Mr. Hadi Haeri

    ten percent (10%) of his revenues derived from his (first) DeKalb contract. In early

    2005, Mr. Champion ceased paying Mr. Don Tyler. Mr. Tyler threatened civil

    action, but Mr. Champion and Mr. Tyler reached an ''Accord and Satisfaction"

    settlement agreement in April 2006. The agreement was that Mr. Champion would

    pay Mr. Tyler the sum of $100,000.00. The agreement also involved Mr. Haeri. The

    agreement indicates Mr. Tyler and Mr. Haeri had a signed agreement for the



    1
     Mr. John Walker was hired by DeKalbCounty as an AssistantComplianceManagerIn the Water
    and SewerDepartment In December2001,and was promoted to DeputyDirector on or about July
    18, 2005. He died October 20, 2007.

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     payment of a finder's fee that was dated May 12, 2003. This 2006 agreement

     released Mr. Tyler from his 2003 agreement with Mr. Haeri.
                                                                  \
           As part of his new agreement, Mr. Haeri was tasked with creating and

    submitting invoices to DeKalb County on behalf of Champion Tree Services. A

    witness stated that Mr. Paul Champion also entered into this agreement with Mr.

    Hadl Haeri because Mr. Haeri had known connections with John Walker and other

    officials in CEO Jones's administration. It should be noted that Mr. Haeri was, at

    times during the term of his agreement with Mr. Champion, still employed as a

    contra~ employee within the Department of Watershed Management and reported

    daily to an office space within the department. Also during this time, Hadi -Haeri's

    sister-in-law, Nadine Maghsoudlou, was hired into the department and, after the

    death of John Walker in 2007, was promoted to Deputy Director.
                                                                          '
           Multiple Department of Watershed Management inspectors that were

    tasked with oversight of Mr. Champion's work complained to Mr. John Walker
              .                                                       )


    about issues with Mr. Champion's wo~k. Mr. Walker, however, dismissed these

    complaints.   Some of these complaints included allegations of made-up or

    exaggerated work. These complaints could easily have been verified by simple

    observation of areas claimed to have been cleared by Champion per submitted .

    invoices.

           As part of the probe into this activity, the Special Purpose Grand Jury heard

    testimony that on February 16, 2010, a link analysis chart developed by Detective

    Jamie Payton of the DeKalb County Police Department was 'provided to the senior

    officials within the DeKalb County Police Department. The chart linked numerous

    vendors and subcontractors to         high ranking Department of Watershed

    Management officials, including John Walker, who also had known close

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         relationshipsto former CEO Vernon Jones..

                 According to testimony heard by the Special Purpose Grand Jury, the link

         analysis chart was given to DeKalb County Police Department Assistant Chief

        Annette Lane-Woodard.On or about February 18, 201O,the DeKalb County Police

         Department investigation was abruptly halted by Public Safety Director William

        (Wiz) Miller. Detectives were instructed to cease the investigation without
                                 \

        explanation. In addition, the detectiveswho worked on the case were separated ..

                 In accord with the January 20, 2012, Order's provision, Judge Scott's

        written charge to this Special Purpose Grand Jury, and our statutory authority

        to look into related matters, this body also inquired into actions of Public Safety

        Director William Miller. It was apparent that his actions were related to

        stopping an <ingoing, active criminal investigation into the Department of

        Watershed Management when it became obvious that the investigation would

        involve current county officials. Accordingly, we heard testimony from Director

        Miller and Deputy Chief Lane-Woodard. We were deeply disturbed by the

        conflicting testimony of Director Miller and Deputy Chief Lane-Woodard on the

        simple issue of whether information concerning possible corruption was even

        given to the FBI for their review. Based on their testimony, we are forced to

        conclude that Director Miller and Deputy Chief Lane-Woodard either perjured

        themselves or are abjectly incompetent.

              As DeKalb County's Public Safety Director and a sworn law enforcement

        officer, Director Miller had an obligation to ensure appropriate crinie control

        and prevention strategies. We believe that with respect to the DeKalb County

        Police    Department's       investigation   of   the   Department   of   Watershed



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        Management, Director Miller failed in that duty. A law enforcement officer can

        fail to do his duty for many reasons: incompetence, ignorance, or perhaps

        criminal collusiveness. The Special Purpose Grand J·ury finds that Director

        Miller's behavior was not the result of incompetence. Rather, the Special

        Purpose Grand Jury finds that, with complete awareness that an active

        investigation involved current county employees, Director Miller interfered with

        the investigation and failed to take reasonable steps to ensure that the

        apparent     and obvious     criminal   behavior was    stopped or thoroughly
                                                                       '
        investigated.

                 According to witness testimony, Department of Watershed Management

        Deputy Director, Charles Lambert, had been cooperatingwith the investigationand

        had been providing DeKalb County Police Department detectives with information

        pertaining to the aforementioned issues. Mr. Lambert had conducted an internal

        review of the Champion Tree Service invoices in question. This internal review

        found unequivocal evidence that multiple Champion Tree Services invoices·h~d

        been inflated, and that Champion charged the County for services that it had not

        even provided. The Special Purpose Grand Jury heard evidencethat Mr. Lambert

        met with Director Miller and Assistant Chief Lane-Woodard near the time period

        when the DeKalb County Police Department detectives provided the link analysis

        chart to their supervisors. At that meeting, Mr. Lambert provided details of his

        internal findings. Within weeks Mr. Lambert could not get any of the DeKalb

       • County Police Department detectives that he had been working with lo return his

        calls.

                 During the same time period, the District·Attorney's Office learned of an

        ongoing civil lawsuit involving Champion Tree Service and DeKalb County. Paul

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                Champion had filed a lawsuit against the County claiming he was owed money for

                unpaid invoices stemming from his 2006 easement clearing contract. The District

            Attorney's Office, after much effort, obtained files and transcripts from the. County

            Attorney's Office. The documents, which included emails of former Department of

            Watershed Director Roy Barnes2,           arid former Deputy Director Nadine

            Maghsoudlou, appeared to reveal an alleged fraudulent scheme involving current

            and former employees of the Department of Watershed Management and othe~

            DeKalb County government departments, public/elected officials, and outside
                                       I

            contractors during the time period of 2000 - present

                      The Department of Watershed Management's own internal procedures

            were not enough to stop the Champion scheme. An Inspector with the Department

            of Watershed Management objected to the manner and billing of Paul Champion.

            That inspector testified to the Grand Jury that he reported to his superiors that

            Champion Tree Service was grossly overestimating the tree count and the linear

            feet cleared. Former Deputy Director John Walker and Nadine Maghsoudlou,

            however, told the inspector to sign the work orders and the invoices despite his

            concerns.
    ,
                      3. Ace Environmental

                      As noted above, Champion Tree Service was awarded two easement

            clearing contracts with DeKalb County in 2003 and 2007.           The events that



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              Mr. Barnes was the Associate Director of the DeKalb county Water and Sewer
            Department.Mr. Barneswas appointedto this position by CEOVernonJoneson or about
            June3, 2003. Mr. Barneshad been hired as an engineer.The promotion from engineerto
            AssociateDirector effectivelymeant Mr. BarnesJumpedmultiple ranksin the organization
            to headthe entire department.The DA'sOffice InvestigationrevealedMr. Barnesto be a
            closefriend of CEOJonesand both JohnandJeff Walker.

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    occurredbetweenthe expirationof the 2003 contract(in 2006) anclthe award of

    the 2007 contractto ChampionTree Servicegreatlyconcernthe SpecialPurpose

    Grand Jury. Witness testimony indicatedthat Deputy DirectorJohn Walker told

    Mr. Champion(in the presenceof Hadi Haeri)that he neededa "blackface' on this

    contract. In responseto this, Paul Championaskedhis childhoodfriend, Christian

    Vann, an African-Americanthen employedby the Cartoon Network, to help him

    secure or re-securethe contract that Mr. Championpreviouslyhad with DeKalb

    County. Mr. Championwanted Mr. Vann to sign off on the bid documentsfor the

    easementclearingcontract- and then submitit to DeKalbCounty. Mr. Vann and

    Mr. Championcame to an agreementthat in the event Mr. Vann won the bid, then

    Mr. Championwould come in as a subcontractorand do all the required work

    issuedunderthe contract.

          Mr. Vann then registereda fictitiouscompanywith the GeorgiaSecretaryof

    State named ACE Environmental. Mr. Championcompletedthe Invitationto Bid
                                   ,.
    for easementclearing servicesby handwritingin the line item figures for various

    clearing services and the names of references(Includingthat of Deputy Director

    John Walker,whom Mr. Vann had never met). Mr. Vann signedthe bid document.

    No one from the County tried to verify that Mr. Vann was a responsive and

    responsiblebidder and that he and his "company"were qualifiedto do the work.

    Ironically,Mr. Vann did not even own a chainsawat this point in time. Mr. Vann,

    per the directive of Mr. Champion,subsequentlyattended a mandatorypre-bid

    meetingat the Countyoffices.

         Despitenot havingany actualqualifications,ACE Environmentalwon the bid

   for the easement clearing contract. The amount of the contract was from two

    million two hundredthousand dollars ($2,200,000.00)to two million five hundred

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        thousanddollars ($2,500,000.00).After a disputewith Mr. Championover fees to

        be paidto Mr. Vann underthe contract(for his role in securingthe Countycontract

        through his fictitiouscompany),Mr. Vann, now facing complaintsfrom the County

        regardingnon-performance,attemptedto enter into an agreementwith Mr. David

        Gallemore. Mr. Gallemore has registeredtens of companieswith the Georgia

        Secretary of State, many of which have held·contracts with DeKalb County

        (particularlyin the area of IT). Gallemore'scompany,Arbor People, bought the

        name "ACE Environmental"from Mr. Vann.          The contract Issued to ACE

        Environmentalwas canceledby the Countyshortlythereafterfor non-performance.

        It should be notedthat Mr. Gallemore'semploymentcompanyemployedMr. Hadi

        Haeri and placed him at DeKalb's Departmentof WatershedManagementas a

        contractedor supplementalemployee.

              The realizationthat a fictitious companywith no assets, no equipment,no

        employeesand no experienceIn the relevantarea of work can win a multi-million

        dollar seryicescontractwith the Countyis of great concernto the SpecialPurpose

        GrandJury. Severalemployeesfrom the Purchasingand ContractingDepartment

        testified to the Grand Jury and none were able to provideconcreteanswersas to
                                                                         I
        how this situation could have occurred and, perhaps more importantly,what

        checksand balancesare now in placeto preventa repeatof the situation.

              4. G4 Technologies (David Gallemore)

              A November 2007 DeKalb County Internal audit report revealed that

        DeKalb County paid fourteen (14) consultantsand technologyservice providers

        millionsof dollars through various, individualcontractsor purchaseorders capped

        at the amount of $50,000.00each (Note: one of the fourteen companieshad a


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    contract in excess of $50,000.00, but was still paid in excess of a million dollars of

    their contracted amount.) The audit further revealed the payments made to the

    aforementioned contractors were done through the "splitting• of Purchase Orders.

    The 'splitting" was done to circumvent the Board of Commissioner's approval and

    to avoid putting the contracts out for competitive bid (requirements made

    necessary for contracts of certain monetary thresholds). The DeKalb County .

    internal auditors discovered that Mr. Richard Stogner, Executive Assistant to CEO

    Vernon Jones, directed employees to split the Purchase Orders in violation of

    County policy. Testimony heard by the Special Purpose Grand Jury indicated that

    Mr. Stogner knowingly violated these policies despite his own approval in 2004 of

    the very policies at issue.

            G4 Enterprises was one of the fourteen (14) contractors referenced in the

    2007 Internal audit report. G4 Enterprises .had a single contract in the amount of

    $50,000.00; however, G4 Enterprises was paid a total of $2,616,884.00 from June

    30, 2004 - September 20, ;1001.G4 Enterprises was also paid approximately

    $20,000.00 in 2008, but their services were later terminated.

            The internal aud~ report was sent to CEO Vernon Jones on November 14,

    2007. Dr. Michael Bell and the Board of Commissioners commissioned an external

    audit through KPMG. This audit confirmed and expanded on the findings of the

    Internal audit.

            On November 15, 2007, CEO Vernon Jones ordered Internal Auditor

    Eugene O'Mard to issue an addendum to ~is audit report to include the roles of

    various departments in the contract payment deficiencies. Mr. O'Mard Issued the

    addendum to his report on November 21, 2007, finding no connection to the

    finance department and the deficiencies.       CEO Jones commissioned another

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    extemalaudit througha companyknownas NashHill,which confirmedthe findings

    of the internal audit. This third audit report commissionedby CEO Jones, In the

    opinion of the Special PurposeGrand Jury, was self-serving,unnecessaryand a

    waste of tax payer money.

           The Special PurposeGrand Jury heard testimonyand saw evidencethat

    betweenOctober2006 and October 17, 2007, David Gallemore,operatingunder

    the busi~essname of G4 Enterprises,Inc., sent threateningemailsto DirectorRoy

    Barnes and Deputy Director John Walker. During this time, Mr. Gallemorehad

    fallen out offavor with the Walkersand, therefore,with DeKalbCounty.The emails

    threatenedto expose Bames', Walker's and CEO Jones' Involvementin corrupt
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    activities,that includedthe ChampionTree Servicecontractand ChristianVenn's

    contract,threats receivedby vendorsfrom CEO Jones,reportsof kickbacksin the

    form of trips, and bid and contractmanipulation.The emailsalso claimedthat as

    a form of retribution,Mr. Gallemore'scompanywas no longerreceivingwork under

    his Countycontractand was not receivingtimely paymentfrom the County.

          The Special PurposeGrand Jury,heardtestimonythat Mr. Roy Barnes,as.

    AssociateDirectorof the Departmentof WatershedManagement,investigatedthe

    emails and possibly sent the emails to someone in the law department. Mr.

    Barnes,however,did not investigatethe allegationsin the aforementionedemails.

    It should'be notedthat Mr. Barnes,during his time of employmentas an Associate

    Director and a Deputy Director in the Departmentof Watershed Management,

    receivedthousandsof dollarsfrom JohnWalkerfor unknownpurposes.

          5. MM&E

          Mr. Barry Bennett is the owner of Metals and MaterialsEngineers,LLC.


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     MM&E was started in 2001 with Mr. Bennett as the principal owner. Mr. Bennett

     wanted to get his company into the public sector arena and sought ,certification

     with DeKalb County as a Local Small Business Enterprise and a Minority Business

     Enterprise.

            MM&E was awarded several Department of Watershed Management

     contracts between 2002 to present. Its initial success with the County was short-

     iiyed. Several contracts awarded to MM&E, which were under the control of Ms.

     Nadine Maghsoudlou, were drastically reduced in scope upon award or

    subsequently no work was issued to MM&E under the contract. Also, MM&E

    experienced issues with receiving timely payment on other Department of

    Watershed Management contracts. There is also some question as to whether a

    bid for a later contract was purposefully rigged to select another vendor when

    MM&E was actually the lowest bidder.        MM&E representatives believe these

    actions on various contracts were forms of retribution for Mr. Bennett having fired

    Jeffrey Walker. Testimony provided to the Special Purpose Grand Jury indicated

    that Mr. Bennett had hired Mr. Jeffrey Walker as a business development '

    consultant at a rate of $8,000 per month in 2005. That agreement was terminated

    by Mr. Bennett after five months.


           6. UniversalBusinessDevelopment(Hadi Haerl)and Brown&

           Caldwell

           The Special Purpose Grand Jury heard testimony about Hadi Haeri who

    provided serviceson the County's mapping project regarding DeKalb's effort to

    locate and determine the GPS coordinates of its approximately 75,000 manholes.

    The contract was worth approximately twenty million dollars ($20,000,000.00). Mr.



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    Haeri ostensibly worked as a "business consultant" through his company Universal

    Business Development. In that capacity, according to Mr. Haeri, he worked to put

    together a team of subcontractors to work under a prime contractor, Brown &

    Caldwell, to pursue the mapping contract.

           Mr. Haeri testified that he had no influence on bids/offers. However, the

    Special Purpose Grand Jury notes that Mr. Haeri's sister-in-law, Nadine

    Maghsoudlou at the time Deputy Director in the Department of Watershed

    Management, ~id have influence on bids/offers pertaining to the Department of

    Watershed Management. Ms. Maghsoudlou was a participant on various selection

    committees that reviewed and evaluated Request For Proposals (RFPs) vying for

    County contracts, including the lucrative mapping contract.          In fact, one

    subcontractor involved in Brown & Caldwell's RFP for the mapping project testified

    that Mr. Haeri told the RFP group that they had nothing to worry about because

    Nadine would be onthe selection committee for the contract award.

           One of the subcontractors set up by Mr. Haeri to be included on the Brown

    and Caldwell bid for the mapping project, DMD Engineering, had no experience in

    the area of manhole inspections -     the very scope of work DMD and Brown &

    Caldwell represented that DMD would perform under the contract. Despite this,

    Brown & Caldwell won the mapping contract with DMD still listed as the

    subcontractor on the project responsible for the manhole inspection portion of the

    work. As stated above, the ability for County contracts to be issued to unqualified

    vendors, especially those included on contracts as a Local Small Business

    Enterprise, is very troubling to the Special Purpose Grand Jury.

           The Special Purpose Grand Jury reviewed the RFP submittal by Brown &

    Caldwell for the mapping contract. It included a detailed section about the quality

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    control services to be provided by Brown & Caldwell employees on the mapping

    project. The RFP listed three Brown & Caldwell employees that would oversee the

    quality control aspect of the project, one of whom had a Ph.D. Despite this

    impressive and qualified oversight group, just some weeks after the County issued

    the mapping project contract to Brown & Caldwell, Brown & Caldwell entered into

    an agreement to pay Hedi Haeri for the very same services.

              Witnesses testified that Deputy Directors John Walker and Nadine

    Maghsoudlou directed Brown & Caldwell to hire Mr. Haeri under the Brown &

    Caldwell contract. In response to this directive, Brown & Caldwell sent two letters

    to Ms. Maghsoudlou to memorialize her directive. One of those letters stated in

    part:

            In accordance with your request, we propose to add to our team, Mr. Hedi
            Haeri, who will be responsible for assisting DeKalb County Public Works
            Water and Sewer Department (DCWS), with project administration, as
            required. We understand that he will be based mainly al your offices and will
            report to you and other personnel at DCWS for project assignments and
            direction.
                     As instructed, we shall subcontract the services of Mr. Hedi Haeri with
            effect from January 1, 2007, under the above project. We propose to bill his
            services as a Junior Engineer at the rate of $100 per hour, in accordance
            with the hourly rates given in the above Contract.


    An acknowledgement attached to the letter goes on to state:

             "It is understood and acknowledged by DeKalb County that Brown and
             Caldwell shall not scope, direct or review the work performed by Mr. Hedi
             Haeri for DeKalb County, and that Mr. Hadi Haeri shall not be under the
             direction or control of Brown and Caldwell at any time."

             Ms. Maghsoudlou signed the acknowledgement to the first letter. The

    acknowledgement to the second version of the letter, which changed Mr. Haeri's

    title and significantly increased his hourly fee, was signed by Associate Director

    Barnes.


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            Mr. Haeri was paid over seven hundredthousanddollars for his services

    under the Brown & Caldwellcontract- servicesthat were already accountedfor

    by Brown & Caldwell under its RFP submittal. As such, Mr. Haeri'sand Brown&

    Caldwell's assertions that Mr. Haeri was added to the Brown & Caldwell prime

    contractunderits •AdditionalServices•clauselack credibility.

            With full knowledgeof Mr. Haeri'screatedrole underthe Brown & Caldwell

    contract, Ms. Maghsoudlouapproved Brown & Caldwell invoiceswhich covered
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    the expensesassociatedwith Mr. Haeri. Additionally,both Ms. Maghsoudlouand

    Associate Director Roy Barnesapprovedvarious time sheetsfor invoices by Mr.

    Haeri under the mapping project during an eight month period in 2009 in which

    work on the mappingprojecthad been halteddue to a delay of the approvalof the

    budget by the CountyCommissioners.

             Hadi Haeri was fired by Brown & Caldwell on or about the time that

    Nadine Maghsoudlouwas placed on administrativeleave by DeKalb County in

    2010.      J

            7. UniversalBusinessDevelopment(Hadl Haeri)and DMD

            Engineering

            The Special PurposeGrand Jury also learned throughtestimonythat Mr.

    Haertwas also being paid by DMD Engineering,anothersubcontractorto Brown&

    Caldwell,during the courseof the mappingproject. DMD·paid Mr. Haeri over five-

    hundredthousanddollars. The exact services,if any, providedby Mr. Haeri on the

    mappingprojectfor or throughDMD is unknownas the former principalof DMD is

    now deceased.




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            8. Global BusinessDevelopment(JeffreyWalker)and Brown&

            Caldwell

            Per testimony provided to the Special Purpose Grand Jury, Brown &

     Caldwell hired Jeff Walker as a political or "business development' consultant in

     order to gain further favor with DeKalb County. Brown & Caldwell paid Jeff

    Walker, through his company Global Business Development, approximately

    $106,000.00 from February 2008 through May 2010.

            The Grand Jury reviewed invoices and reimbursement forms that were

    submitted to Brown & Caldwell by Jeff Walker. These documents show that Jeff

    Walker was meeting with and entertaining:

                • CEO Jones' Chief of Staff, Ann Kimbrough,

                • Debra Brewer (Deputy Director of DeKalb County Purchasing and

                    Contracting),

                • Rudy Chen (Deputy Director of DeKalb County Department of

                   Watershed Management),

                • Roy Barnes (Assistant/Deputy Director of           DeKalb County

                    Department of Watershed Management),

                • Richard Calhoun (DeKalb County Department of Watershed

                   Management),

                • Kelvin Walton (Director of DeKalb County Purchasing and

                   Contracting).

           The documentation produced by Brown & Caldwell indicates a pattern of

    Mr. Jeff Walker meeting with the aforementioned individuals, in addition to other

    DeKalb County officials and employees, over a period of time from December



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    2007 to December2009. Of the twenty-five_,Jeffrey
                                                   Walker Invoicesproducedby

    Brown & Caldwell,twenty reference his meetingswith DeKalb officials including

    the_departmentheads for DeKalb WatershedManagementand Contractingand

    Procurement.

           It should be noted that Mr. Walker, prior to the creation of his business

    developmentcompanyin 2002, had no experiencein engineering,constructionor
     ,
    public policy. His only qualificationfor his role as a businessdeveloperfor Brown

    & Caldwelland the below listed companiesappearsto be his connectionswith his

    twin brother, Deputy Director John Walker, his sister, fonner Chief Judge of

    RecordersCourt Joy Walker,the Walker'slongtimeand closefriendshipwith CEO

    Vernon Jones, and his friendship with Associate Director of Watershed Roy

    Barnes.

           9. Global BusinessDevelopment(JeffreyWalker)and MM&E

          The Special Purpose Grand Jury heard testimonyand saw evidencethat

    Metals, Materials Engineers, LLC (MM&E) entered into an agreement to pay
                                                             '
    Global BusinessDevelopmenta monthlysum of $8,000.00in December2005 for

    "advice".MM&Etenninatedthe agreementafterfive (5) months.

          10. Global BusinessDevelopment(JeffreyWalker)and Desmear

          Systems

          Additionally, the Grand Jury· heard testimony and saw evidence that a

    company known as Desmear Systems paid Jeff Walker, through his company,

    Global Business Development,$8,000.00 in 2008. DesmearSystems was paid

    approximately$2,254,000.00by DeKalbCoµntyfrom November2007 - November

    2009. In addition, DesmearSystemshas providedwork space for Mr. Walker in


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         their Northlakearea offices since at least 2011. This particularcompanygained

         the interest of the Grand Jury because of the followingpress release published

         May 22, 2012.


         MAY 22, 2012FOR IMMEDIATERELEASE

                    The First ONE DeKalbWorks SewerContractAwarded

         DECATUR- DeKalb County Chief ExecutiveOfficer Burrell Ellis announcesthat
         DeKalb County awarded the first contract in the $1.35 billion water and sewer
         system upgradesusing bond funds that will be taking place over the next eight
         years,

         'This is a historic day in DeKalb County as we begin these critical upgradesfor
         future generations,and start putting people back to work under the ONE DeKalb
         Worksjobs initiative,"said CEO Ellis.

         The winningbidder, DesmearSystems,Inc., in Tucker, beginswork in June. The
         $7.6 million project prepares the Snapfingl,!rWastewaterTreatment Facllitles
         Expansionfor later constructionwhich includesclearing,grubbing, rock and soil
         excavation,and constructionof a retainingwall.

         There is a 20 percent Local and Small BusinessEnterpriseparticipationrequired,
         as well as a good faith effortto hire at least 50 percentof DeKalbCountyresidents
         for newJobscreatedas a result of this contract. Also, contractorsare encouraged
         to have 25% or more of their labor force consistingof preferredemployeesfrom
         labor organizationsselectedfrom the First SourceRegistryand trained by a U.S.
         Departmentof Laborregisteredapprenticeshipprogram.

         'One of the key componentsof the AmericanJobsAct is targetedto rebuildingour
         nation's crumblinginfrastructure,"said CEO Ellis. 'We are investing$1.35 billion
         to upgrade and repair of our aging water and sewer system, but we have the
         opportunityto implementour own local stimulusprogramthat will createjobs now
         and help citizensgrow businessesnow."

         ONE DeKalb Works is a public service, jobs initiative that will leverage the
         completionof water and sewer infrastructureImprovementsand other construction
         projects to cultivatea skilledworkforceand promotelocal businesses. According
         to a recent study by the Carl Vinson Institute of Governmentat the Universityof
         Georgia,up to 4,700jobs will be createdat the programspeak.            •

         For moreinformationon ONE DeKalbWorks,visit www.DeKalbcountyga.gov.




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           11. Global BusinessDevelopment(JeffreyWalker)and Parsons

           Water Infrastructure,Inc.

           DeKalb County advertised and initiated the RFP process for design work

     for the Polebrldge-Snapfinger Wastewater Plant Expansion project (hereinafter

     "Polebrldge Project') (worth approximately thirty million dollars) on three

     consecutive occasions starting In 2005.         Parsons Water Infrastructure, Inc.

     (hereinafter "Parsons") submitted offers on these RFPs for the aforementioned

     project. After not being shortlisted on the first two occasions, Parsons teamed up

     with Jeffrey Walker in preparing for the third attempt for the lucrative contract. Mr.

     Walker met the Parson's general manager overseeing the Parson's efforts for the

     Polebrldge Project RFP, Mr. Tony Taylor, through Barry Bennett of MM&E.

           According to testimony provided to the Special Purpose Grand Jury,

     Parsons entered Into a consulting agreement with Mr. Walker in 2006. Under the

     agreement Mr. Walker provided "technical writing and proofreading services" on

     the Parsons RFP notebook to. be submitted to DeKalb Co1,1nty.The agreement

     was for a term of six (6) months and provided for fees to Mr. Walker in the

     amount of eight thousand dollars ($8,000) a month for a total amount in fees of

     forty-eight thousand dollars ($48,000). Parsons executed two amendments to the

     agreement which extended the term of Mr. Walker's agreement and increased his

     fees an additional forty thousand, nine hundred dollars ($40,900).         Under the

     consulting agreement, Parsons paid Jeffrey Walker a total amount of eighty-

     eighty thousand, nine hundred dollars ($88,900) for six months of techr;iical

     writing and proofreading services. Parsons won the Polebrldge Project contract
                                            '
     award.

           After winning the contract on the third RFP issued by the County for the

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     Polebridge Project, Parsons then hired Jeffrey Walker as an employee for a short

     time in 2008/2009.     Documents produced by Parsons and reviewed by the

     Special Purpose Grand Jury indicate that Mr. Walker, as an employee of

     Parsons, engaged in numerous breakfast, lunch and dinner meetings from March

     of 2008 to June of 2009 with Parsons' Tony Taylor and various high level DeKalb

     County employees and officials. These employees and officials included former

     CEO Vernon Jones, former Chief of Staff Ann Kimbrough, Associate Director of

     Watershed Management, Roy Barnes, DeKalb County Director of Contracting

     and Procurement, Kelvin Walton and other lower level Department of Watershed

     Management employees.

           During part of the period of time that Mr. Jeffrey Walker was employed full-

     time by Parsons to perform •marketing and business development" services, he

     was also a paid consultant for B_rown'& Caldwell providing the very same

     services.   Both companies held and were seeking lucrative· DeKalb County

     Department of Watershed Management projects with the County during this

     period of time.

           The activities of Mr. Walker and his many consulting agreements with

     contractors and subcontractors (particularly small companies serving as

     subcontractors to larger prime contractors in order for the larger prime contractors

     to meet their Local Small Business Enterprise ("LSBE") requirement, and thus

     receive extra points during an RFP or bid assessment) is very troubling to the

     Special Purpose Grand Jury. Additional concern over these agreements arose

     upon learning that Mr. Walker's sister, former Recorders
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                                                              Court Chief Judge Joy

     Walker, provided ongoing assistance in drafting and preparing these consulting

     agreements for Mr. Walker. According to a 2005 email reviewed by the Special

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     Purpose Grand Jury, Ms. Walker conferred with a county attorney serving then as

     the Assistant Director of Purchasing and Contracting, Terry Phillips, to develop

     the contingency fee language used in many of Mr. Walker's contracts with DeKalb

     vendors. It should be noted that this very type of language regarding contingency

     fee agreements with consultants seeking work in DeKalb is expressly prohibited

     by Section 7, subsection 7, of the county's Purchasing Manual entitled "Ethics in

     Public Purchasing for DeKalb County". The manual, issued in 2002, specifically

     indicates that it was submitted to "Mr. Terry Phillips, Assistant Director

     Purchasing and Contracting•. The Special Purpose Grand Jury finds the actions

     of Ms. Walker and Mr. Phillips to be unacceptable, in violation of the established

     purchasing policies, and contrary to the best Interests of the County.


           12. InlandWatersand SuperiorPipeline(DionAllen)

           Dion Allen owned and operated Superior Pipeline. The company primarily

     performed pipe bursting services and CClV inspection services related to water

     systems. Superior Pipeline sought and received certification from DeKalb County

     as a Local Small Business Enterprise. After that, Mr. Allen began teaming up

     with larger companies to bid on County contracts out of the Department of

     Watershed Management. In 2008 or 2009, Mr. Allen (Superior Pipeline) was

     approached by inland· Waters ("Inland") wanting to team up with Mr. Allen to

     pursue DeKalb projects (CCTV and pipe bursting). Inland, at that time, had no

     contracts with the County and was looking to get a foot in the door.

           Superior Pipeline did not have the financial resources to pursue larger

     contracts out of the Department of Watershed Management as a prime

     contractor. Mr. Allen did own four CCTV trucks and other equipment needed to'



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     perform services under a CCTV contract and a pipe bursting contract. Inland and

     Mr. Allen reached an agreement to pursue the aforementioned projects. Under

     the subcontractor agreement, Mr. Allen/Superior was to perform 100% of the

     work on the CCTV contract and 20% of the work on the pipe bursting contract.

     Inland, with Superior as its subcontractor, won both contracts in 2010.

           According to testimony heard by the Special Purpose Grand Jury, Mr. Allen

     was contacted by the Inland project manager (Randy Hebert) only months into

     starting work on the CCTV contract. Mr. Hebert indicated that Inland now wanted

     to bring in another subcontractor on the contract who had some political

     connections to DeKalb's new administration (referring to CEO Burrell Ellis'

     administration). Mr. Allen's work would now be reduced from 100% to a much

     lower percentage (despite his original agreement with inland when preparing the

     bid on the contract). Mr. Allen was told that he either play ball or risk losing the

     (sub)contract all together. Mr. Hebert indicated that Inland had a new lobbyist,

     Kevin Ross, and that the sudden change in subcontractors on the project was

     coming down from him. Mr. Ross is the former campaign manager to Burrell

     Ellis. Mr. Allen fought Inland on the matter. He subsequently was removed from

     the contract as lniand's subcontractor. Mr. Allen plans to file a civil suit over the

     matter this year.



    C. ImproperActivitieswithin the CEO's office

           As a result of this Grand Jury's efforts, numerous people have testified and

    voluminous documents have been reviewed. The investigation has yielded

    evidence that current Chief Executive Officer Burrell Ellis (hereinafter CEO Ellis) is

    involved in a scheme that entails the following: 1) soliciting campaign contributions

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        under the color of his title as CEO with vendors that have a just-approved or

        pending contract with DeKalb County; 2)canceling or attempting to cancel

        contracts in order to create an "emergency situation" for which an emergency

        contract can then be issued to another vendor without a competitive process; 3)

        directing the cancellation of contracts or the non;issuance of work to vendors for

        punitive and political rea~ons; 4) dictating which Individuals should be placed on

        selection committees for RFPs for which major campaign donors will be submitting

        offers; 5) interfering in the evaluation process for RFPs by discussing secret

        selection committee information with committee members during the active

        evaluation period;    6) communicating with a submitting vendor and/or vendor

        representative during an active evaluation period for the related RFP about matters

        directly related to the pending RFP and subsequent contract award; and 7)

        interfering with and/or altering a selection committee's final recommendation (prior

        to submission to the Board of Commissioners) in favor of vendors represented by

        Kevin Ross or for vendors with a history of paying significant campaign

        contributions/raising significant campaign contributions for Mr. Ellis.

               The Grand Jury has received information that, on a routine basis,CEO Ellis

        demands and receives an updated list of vendors that have been recently

        approved for contracts by the DeKalb County Board of Commissioners. CEO Ellis

        then utilizes the information provided in the vendor lists, specifically the name and

        phone number of the successful company representative who signed the 1TB or

        RFP document, to contact the vendors to solicit camplajgncontributions. In some

        instances, if the vendors refuse or are not initially receptive or "responsive", CEO

        Ellis will make repeated calls to the vendor for the purpose of soliciting campaign

        contributions. These calls often are made prior to an issued contract to the vendor

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    being finalized or just after a contract ls finalized and the vendor is in its initial

    phaseof the contract.

           1. CEO SolicitingCampaignContributionsfromVendorswith

           Pendingor new contractswith the County

                   a) JeffreyWalker-"Thlngsto Know"

          Duringits investigation,the GrandJury receiveda memorandumthat Is titled

    "Things to Know" which contains allegationsagainst CEO Ellis. More than one

    witnesstestifiedthat Mr. JeffWalker authoredthe memorandum.

           The aforementioned"Thingsto Know"memorandumindicatesCEO Ellis is

    involved in a scheme to withhold his signature on contracts until receiving a

    campaign contribution from the vendor, specifically in regards to Desmear

    Systems.

                   b) DesmearSystems

           The Grand Jury heard testimonythat DesmearSystemswas awarded a

    contractfor sidewalkrepair and landscapingin August of 2011. Systemsdid not
                                              ',
    receive a notice to proceed(to begin the work) until after a call from CEO Burrell

    Ellis on February 8, 2012, in which CEO Ellis asked for a $2,500.00campaign

    contribution.The company's principal agreed to make the contributionand the

    following day, Purchasingand Contractingtold Desmearthat DeKalbCountywas

    ready to proceedwith its contract.On May 22, 2012, CEO Ellis' office issu_ed
                                                                               the

    news releaseincludedabove regardinga subsequentcontractawardfor Desmear

    Systems.

                   c) Powerand EnergyServices

           The Grand Jury also receivedevidenceabout a contract betweenDeKalb


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     County and Power and Energy Services. In April 2012, Power and Energy

     Serviceswas awardeda DeKalbCounty contract(lo servicegenerators).Another

     companywas also awardedthe same contract(a split award). A reviewof the bid

     abstractindicatesthat Powerand EnergyServicessignificantlyunderbidthe other

     vendor, Prime,on the majorityof the line itemsincludedin the Invitationto Bid.

            On June 4, 2012, CEO Ellis contacted Mr. BrandonCummings,the co-

     owner of Power and Energy, via telephone and requested Mr. Cummings

     contribute$2,500.00through his company(Powerand Ene~gyServices)to CEO

     Ellis' campaign.Mr. CummingsadvisedCEO Ellisthat Mr. Cummingswas not sure

    if he would be able to make a campaigncontribution,but that Mr. Cummingswould

    check and advise CEO Ellis. Mr. Cummings talked with his wife, Danice

    Cummings,and the two decidedthey would not contributeto CEO Ellis' campaign.

    Mr. Cummingsadvised his administrativestaff about CEO Ellis' request and that

    no contributionwould be made.

            On the following day, CEO Ellis again contacted Power and Energy

    Servicesand spoke to Ms. EneidaRobles,an employee.Ms. RoblesadvisedCEO

    Ellis that Mr. Cummingswas not availableand CEO Ellisaskedif Ms. Roblescould

    take a message. CEO Ellis called back and again asked to speak to Mr.

    Cummings.Ms. RoblesadvisedCEO Ellis that Power and EnergyServiceswould
                                                                       I
    not be able to help with CEO Ellis' solicitationfor a campaigncontribution.CEO

    Ellis' demeanorchanged,and he becameupset.CEO Ellis statedsomethingto the

    effect of "Oh; so you are not interestedin doingwork in DeKalbCounty".

           Within a few minutesafter the call from CEO Ellisto Ms. Robles,a DeKalb

    CountyemployeecontactedPowerand EnergyServicesand spoke to Ms. Danice

    Cummings,the other co-ownerof Powerand EnergySel)llces.The DeKalbCounty

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     employee advised Ms. Cummings that CEO Ellis needed to speak to Mr.

     Cummings. Ms. Cummings advised the employee that Mr. Cummings was

     unavailable at the time. The employee then asked something to the effect of why

     Mr. Cummings would not be willing to speak to "the person that signs their

    contract''. Ms. Cummings staled that she was able to get the employee to

    acknowledge that CEO Ellis was calling for the purpose of soliciting a campaign

    contribution.

            The Grand Jury heard a recording of yet another phone call between Mr.

    Cummings and CEO Ellis. CEO Ellis came on the line and thanked "Brandon" for

    calling back. CEO Ellis stated that he was in a friend's office and that CEO Ellis

    normally gives out his (Ellis') cell phone, 404-625-7086,for these type calls.

            CEO • Ellis stated he had campaigned for CEO and that it takes

    approximately $1 million dollars to run for the office The CEO had raised

    approximately three fourths (¾) of the amount. CEO Ellis advised Mr. Cummings

    that CEO Ellis was holding a fundraiser on October 11, 2012, and asked Mr.

    Cummings to contribute ttie "maximum level" of $2,500.00.

           CEO Ellis advised Mr. Cummings that CEO Ellis had been trying to reach

    Mr. Cummings for some time. CEO Ellis stated that he had spoken to Mr.

    Cummings on June 4, 2012, and made attempts to call Mr. Cummings back on

    June 5, 2012, June 7, 2012, and June 11, 2012. CEO Ellis stated that he also

    called on June 25, 2012, and was advised by a person CEO Ellis described as

    Aneida (CEO Ellis spelled the name on the recording) and was told "he is not
                                                 \


    interested In your services".

           Mr. Cummings stated that there may have been some confusion on the

    previous calls and that Mr. Cummings had received a call from a DeKalb County

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    Director of Purchasing and Contracting about the CEO's calls. CEO Ellis stated

    that he did not know why the employee had called, and that CEO Ellis would have

    to check his notes. CEO Ellis then stated that he recalled that he had been told by

    someone at Power and Energy Services that the company was not interested in

    his (Ellis') services. CEO Ellis stated that he was taken aback by this, but someone

    from Power and Energy Services had since called and apologized and CEO Ellis

    wanted to move forward.

           CEO Ellis again inquired about financial support for the upcoming

    fundralser on October 11, 2012. Mr. Cummings stated that he did not typically

    donate to campaigns and that Mr. Cummings was not a resident of DeKalb

    County.

           CEO Ellis, his tone now becoming more firm and reprimanding, replied that

    he was not asking why Mr. Cummings should support DeKalb County

    Government, but why Mr. Cummings should support CEO Ellis with a campaign

    contribution. Mr. Cummings stated he did not know CEO Ellis' platform, and he is

    only a vendor that is based in Cobb County.

           CEO Ellis stated that Power and Energy Services does business with

    DeKalb County and "If I got to sit down and explain to you why you would want to

    support this County government. ..." Mr. Cummings then replied, that Mr.

    Cummings was not a~king about the County government.

                   d) National Property Institute

           The Special Purpose Grand Jury heard recorded conversations involving

    CEO Ellis related to his efforts to solicit a campaign contribution from the owners of

    National Property Institute (hereinafter "NPI"), Greg and Trina Shealey.         The

    recordings and related testimony on the topic indicate that CEO Ellis called Trina

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    Shealey,who signed the RFP form submittedon behalf of NPI to DeKalbCounty

    for a contract related to a neighborhoodstabilizationproject, seven times. The

    phone calls were made in the summer months of 2012. The Shealeys were

    awardedtheir contractin April of 2012.

           Ms. Shealey spoke to CEO Ellis on two occasions. In responseto CEO

    Ellis' requestfor a campaigncontributionin the amountof $2,500.00,Ms. Shealey

    indicatedthat she needed to speak to her husbandabout the request. Nothing

    related to the Shealey's contract, their scope of work and/or their performance

    underthe Countycontractwas discussedduringthese shortcalls.

           The CEO, in responseto Ms. Shealey'sfailure to call him back regarding

    his solicitation for a campaign contribution, directed the staff member who

    overseesthe Shealey's one million dollar ($1,000,000)contractto coordinatea

    meetingwith the Shealeys in his County office. After severalmeetingsbetween
                                      '
    the CEO and the Shealeysoverthe courseof a few weeks,the decisionwas made

    by the Shealeysto make a contributionto Mr. Ellis' campaignin the amount of

    $2,500 (the maximumlevel for a campaigncontribution).The Shealeysmade the

    campaigncontributionbecausethey were afraidthat their contractwith the county

    would be terminatedif they did not.

                  e) Reevesand AssociatesConsultingand Training,Inc.

           On October 10, 2012, Mr. MichaelReeves,Vice Presidentof Reevesand

    Associates Consulting and Training, Inc., received a call from CEO Ellis. Mr.

    Reeveshad a subcontractwith E2 Assureon a DeKalbCountycontractat the time

    of the phone call. Duringthis call, CEO Ellis advisedMr. Reevesthat Mr. Reeves

    was going to serve on the host committeefor a fundraiserfor the CEO on October

    11, 2012, and that Mr. Reeves would be responsiblefor making a $2,500.00

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    campaigncontribution.CEO Ellis referencedthe specificamountsthat Mr. Reeves

    had contributed,as if CEO Ellis was "watchingevery penny" and stated that Mr.

    Reevesstill neededto raise more money.CE,OEllis stated that Mr. Reeveshad

    benefittedfrom doingwork fcir DeKalbCounty.

             Mr. Reeves never asked to be on the host committee.Mr. Reevesfelt a

    great deal of pressureto contributeto CEO Ellis' campaign,and that he might lose

    his contractwith the County if he did not contribute.Mr. Reevesdid not feel that

    his companywas in a financialpositionto makethe contributionrequestedby CEO

    Ellis.

             Mr. Reevesadvised CEO Ellis that Mr. Reeveswas strugglingfinancially,

    and CEO Ellis brokereda deal that a companyby the name of E2 Assure would

    cover the balanceof the $2,500.00that Mr. Reevescould not pay. Mr. Reevesis

    currentlya subcontractorof E2 Assure,which has an active contractwith DeKalb

    County.

                   f) MerrellBrothers,Inc.

             The Special PurposeGrandJury heardtestimonythat on October4, 2012,

    Purchasing and Contracting employees Yolanda Broome and Felton Williams

    participatedin a conferencecall with Mr. Terry Merrell of Merrell Brothers, Inc.

    Merrell Brothers,Inc. had recentlybeen awardeda DeKalbCounty Departmentof

    Watershed Management contract worth approximately four million dollars

    ($4,000,000).
          e
                  Prior to the conferencecall, Mr. Merrell wrote an email to Ms.

    Broome indicatingthat an event had just occurredthat now made him want to

    withdrawfrom his contractawardwith DeKalbCounty. Duringthe conferencecall,

    Mr. Merrell stated Mr. Merrell had receiveda call from CEO Burrell Ellis and that

    CEO Ellis had requesteda $25,000.00campaigncontribution. Mr. Merrell twice

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        mentioned the amount requested was $25,000.00. Mr. Merrell •slated that he

        wished to withdraw from his contract if Merrell Brothers, Inc. was required to make

        a contribution, because that is not the way he does business.

                In the call between Mr. Ellis and Mr. Merrell, CEO Ellis identified himself as

        the CEO of DeKalb County and stated that he (Ellis) had just been re-elected to

        the position of CEO. CEO Ellis went on to say that it takes approximately

        $1,000,000.00 lo run for his office and that he had already raised approximately

        $800,000.00. CEO Ellis staled that he was attempting to retire his campaign debt

        and was holding a fundraiser on October 11, 2012. CEO Ellis then stated that he

        saw that Mr. Merrell's company had recently been awarded a $4,000,000.00

        contract with DeKalb County, and CEO Ellis wanted to know if he could count on
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        Mr. Merrell to come to the fundraiser and bring a $25,000.00 contribution.

               Mr. Merrell stated that after CEO Ellis made the request, Mr. Merrell

        advised him that he was not yet a DeKalb vendor, because Mr. Merrell was still

        trying to work through an issue with his LSBE prior to finalizing the contract. CEO

        Ellis replied that he had a feeling that it would gel worked out, ,ind he asked Mr.

        Merrell if he wanted CEO Ellis to make a phone call on behalf of Mr. Merrell on the

        LSBE issue. Mr. Merrell told CEO Ellis 'no". CEO Ellis then replied that he knew

        what Mr. Merrell meant and that CEO Ellis would contact Mr. Merrell back in

        approximately one month.




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           2. CEO Ellis canceling or attempting to cancel contracts In order to

           create an "emergency situation" for which an emergency contract can

           be then be Issued to another vendor without a competitive process

                  a) CEO Ellls' two attempts to cancel the contract with Judicial

                  Correction Services related to probation services in Recorders

                  Court

           As a result of the "Thingsto Know" memorandumand the testimony of

    numerous witnesses, the Special Purpose Grand Jury also examined the

    relationshipbetween CEO Ellis and Mr. Kevin Ross. Our research revealedan

    August 5, 2010, Atlanta Joumal-Constjtution(AJC) article which states CEO Ellis

    had canceledthree contractssince he took office. Two of the canceledcontracts

    were associatedwith Mr. Kevin Ross. The contractscanceledby CEO Ellis were

    the DeKalb County Recorder's Court ProbationServices contract with Judicial

    Correction Services (JCS) and the Care Ambulancecontract.The third contract

    was not namedin the AJC article.

           The AJC article quoted Mr. Ross as being "a friend and an advisorto the

    CEO".The article statesthat Mr. Ross recommendedto CEO Ellisthe cancellation

    of the JCS contract. The article also indicated Mr. Ross was a consultantfor

    Sentinel,which is a competitorof JCS. The articlequotedMr. Rossas stating"I did

    tell CEO Ellis to look into the procurement and he consider exercising the

    terminationof the contractfor convenienceand to put ii out to bid. I advocatedand

    appealedto the County discretionto look at a procurementthat is flawed". In the

    article,CEO Ellis acknowledgedbeing contactedby Mr. Ross,but deniedMr. Ross

    having influenceon CEO Ellis' decisionto cancelthe contract. II should be noted

    the "flawed"procurementrelatedto the issuanceof the contractto JCS took place

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        in 2008.

               The Grand Jury heard testimony about the DeKalb County Recorder's

        Court Probation Services contract. According to that testimony, Judge Nelly

        Withers, Chief Judge of DeKalb County Recorder's Court, received a great d~al of

        pressure from CEO Ellis and CEO Ellis' staff to terminate the current probation

        contract that is held by JCS. Purchasing and Contracting sent a letter to JCS

        without notifying Judge Withers that Purchasing and Contracting was terminating

        the JCS contract. Purchasing and Contracting, however, had no legal authority to

        terminate the contract, because that authority rests with the Court.

               Judge Withers wrote a letter to CEO Ellis advising CEO Ellis that

        Purchasing and Contracting had no authority to terminate the JCS contract and

        that the actions of Purchasing and Contracting were illegal. After Judge Withers

        hand delivered the letter, the Director of Public Safety William 'Wiz" Miller called

        her and screamed at her about the letter. Director Miller directed Judge Withers to

        stop accusing CEO Ellis of any illegal acts pertaining to the JCS contract. It should

        be noted, Director Miller has no statutory or administrative authority over Judge

        Withers.

               The Grand Jury heard testimony that Judge Wrthers also contacted the

        DeKalb County Law Departmerrt In reference to the matter; however, no one had

        consulted with the Law Department on the termination of the JCS contract. The

        Law Department ultimately backed Judge Withers' !"'.galopinion that only the Court

        had the legal authority to terminate the probation services contract. It should be

        noted that testimony from more than one witness associated with the Recorders

        Court indicated that there are no performance Issues on the part of JCS to warrant

        contract termination.

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           After the aforementioned phone call with Director Miller, Judge Withers was

    called into a meeting with CEO Ellis, Chief Communications Officer Sheila

    Edwards, Chief of Staff Keith Barker, and other staff. Judge Withers provided a

    copy of the statute that supported Judge Withers' findings on the issue. CEO Ellis

    stated that CEO Ellis would "give it'' to the Law Department. CEO Ellis advised

    Judge Withers the law had been changed regarding Judge Withers' appointment

    and that Judge Withers could be fired for any or no reason (which Is incorrect).

    Within a few weeks, Purchasing and Contracting rescinded the decision to

    terminate the JCS contract.

           At a subsequent meeting on or about December 2011, CEO Ellis

    approached Judge Withers to ask "a personal favor". CEO Ellis asked that Judge

    Withers allow the probation services contract to go back out for bid.

                   b) Cancellation of CARE Ambulance contract and issuance of

                   emergency contract to Rural Metro

           The Grand Jury discovered that Mr. Ross is also employed as a consultant

    with Rural Metro Ambulance, which was awarded an "emergency" contract In July

    2010, after CEO Ellis terminated the contract with the previous vendor, Care

    Ambulance. Testimony heard by the Special Purpose Grand Jury indicates the

    decision to cancel the CARE Ambulance contract was not supported by the user

    the department, the Fire Department. Additionally, the issuance of the emergency

    ,ambulance services contract to Mr. Ross' client, Rural Metro, was contrary to the

    recommended vendor selected by the user department. The user department,

    after due diligence efforts, completed the Procurement and Contract Departments

    "Emergency Services" form necessary to request the iss_uanceof an emergency

    contract and indicated its choice for the contract to be American Medical Response

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    ("AMR"). The choiceof AMR was communicatedto the PublicSafety Director,Wiz

    Miller and was also communicatedto the Procurementand ContractsDepartment

    by the submittalof the "EmergencyServices"form. WithinJusta couple of days,

    and with no notificationto the Fire Department,the CEO's Office issued a press

    release indicatingthat it had enteredinto an emergencycontractwith Rural Metro

    for ambulanceservicesand that Rural Metrowould begin providingsaid services

    in six (6) days. The emergencycontr!lct issuedto Rural Metrowas for a term of

    one (1) year. The original understandingby the user departmentwas that the

    emergency contract for ambulanceserviceswould be only for a term of six (6)

    months -    just long enough to have an RFP issued.and permanent contract

    awardedfor ambulanceservices.

            In the article, Mr. Rossacknowledgedbeing a consultantwith Rural Metro

    Ambulance,but denied involvementin the terminationof Care Ambulance.The

    article also reportedthat CEO Ellis toured Rural Metro'sArizonaheadquarterstwo

    monthsbeforecancelingthe ambulanceservicecontract.

            3. CEO Ellis directingthe cancellationof contractsfor punitiveand

            politicalreasons.

                   a) Cancellationof the CorneliusGroup'scontract

            The GrandJury also heardtestimonyabouta marketingcontractissuedto

    The CorneliusGroup in 2011. The contractwas associatedwith a project out of

    the Departmentof WatershedManagementand PublicWorks Department. The

    Cornelius Group's contract was canceled at the directionof CEO Ellis in March

    2012.

            According to that testimony, Ms. Corneliussupported CEO Ellis the first


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     time that he ran for DeKalbCEO. Ms. Corneliussubsequentlyservedon CEO Ellis'

     transition team. During the time on the transitionteam, Ms. Cornelius grew to

     .believethat CEO Ellis was not trustworthyand stoppedsupportingCEO Ellis. Ms.

     Corneliusdid not like the way CEO Ellis treated certain people and she was very

     concernedthat CEO Ellis would never make a decisionwithout getting approval

     from his campaignmanager,Mr. Kevin Ross. Additionaltestimonyindicatedthat

     Mr. Ross had a close personalrelationshipwith CEO Ellis' Chief Communications

     Officer,Shelia Edwards. (Note:witnesstestimonyIndicatedthat Ms. Edwardswas

     very involvedin the decisionto terminatethe CAREAmbulancecontract and the

     awardingof the emergencycontractto Rural Metrodiscussedabove).

            Ms. Corneliusmade her lack of support.of CEO Ellis public in late January

 \   or early February2012 to Joel Alvarado,(a memberof the CEO executivestaff).

     Mr. Alvarado told Ms. Corneliusthat he was going to report this to CEO Ellis.

     When Mr. Alvaradotold CEO Ellis,CEO Ellis becameangry. He cursed'atChiefof

     Staff Jabari Simamawhen CEO Ellis found out Ms. Corneliushad a contractwith

     DeKalb County. CEO Ellis then directed a County employee to cancel Ms.

     Cornelius'contract. The directivecame with no discussionof the performanceof

     the CorneliusGroup underits contract.

            The CEO provided false testimony to the Special Purpose Grand Jury

     regardingwhether he had ever directedthe cancellationof a vendor'scontractdue

     to the vendor's lack of politicalsupportfor the CEO and/or its support_
                                                                           of a political

     opponentto the CEO.
                    b) Cancellationof the Collaborative.Firm's contract

            The Special PurposeGrandJury heardtestimonythat CEO Ellis canceled

     a contractwith the CollaborativeFirm, which Is owned by Mr. Michael Hightower.

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    The testimonyindicatedthe contractwas likely 'canceleddue to Mr. Hightower's

    association and political support of Ms. Barnes Sutton, a DeKalb County

    Commissionerwho is sometimesat oddswith CEO Ellis.

           When he asked about the cancellationof his contract,Mr. Hightowerwas

    told his contractwas canceledbecauseof lack of funding. Mr. Hightowerfelt the

    cancellation was likely political in nature, because it is his experience that

    contractsare not awardedwithoutfundingalreadybeing available.Due to this, Mr.

    HightowercontactedCEO Ellis directly. In this conversation,CEO Ellis re-iterated

    the contract was canceled due to funding not being in place, but CEO Ellis also

    commentedthat CEO Ellis was not pleasedthat Mr. Hightowerwas supportingone

    of CEO Ellis politicalfoes, SharonBarnesSutton.

           The CEO provided false testimony to the Special Purpose Grand Jury

    regardingwhether he had ever directedthe cancellationof a vendor'scontractdue

    to the vendor's lack of politicalsupportfor the CEO and/or its supportof a political

    opponentto the CEO.

                  c) Cancellatiol!directivefor the NPI Contract

           The SpecialPurposeGrandJury heardtestimonyfrom witnessesthat CEO

    Ellis, in response to the Shealeysfailing to be "responsive"to CEO Ellis' calls

    requesting campaign coritributions,directed an employee of the Contracts and

    Profurement Department to effectively cancel the NPI contract. Recordings

    indicate that CEO Ellis gave the directiveto "just dry them up," meaningto not

    issueany additionalwork to NPI underits contract.

           The CEO provided false testimony to the Special Purpose Grand Jury

    regardingwhether he had ever directedthe non-issuanceof work to a vendordue

   to the vendor'sfailureto return his callsfor campaigncontributionsand/orfa0ureto

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     proffera contribution.

                   d) Cancellation directive for the Power and Energy Services

                   contract.

            The Special PurposeGrand Jury heard witness testimonyand recordings

    of CEO Ellis relatedto his directiveto a Purchasingand Contractingemployeeto

    let the Power and Energycontractexpire. This directivewas given after the CEO

    becamevery upset after the ownerof Powerand EnergyServicesquestionedwhy

    he should make a contributionto the CEO's political campaign. A subsequent

    conversationwith the same employeerevealsthat the-CEOdirectedthat employee

    to relayto Departmentof WatershedManagementDirectorJoe Basistathat Power

    and Energy Services should not be utilized anymore under their new contract,

    because they are "not responsive•. The CEO further directed the employeeto

    place a note in Power and Energy'svendor file that were "not responsive'in the

    event the company tried to ever bid on future work with the Departmentof

    WatershedManagement.

           The Grand Jury notes that Power and Energy Services' pricing is

    significantlylower than that of the other company,Prime Power, who is under

    contractwith DeKalbCountyto providethe same services.Thus·thedirectiveto no

    longer utilize Powerand EnergyServicescomesat a financialdetrimentto DeKalb

    County.

           The CEO provided false testimony to the Special Purpose Grand Jury

    regardingwhether he had ever directedthe non-issuanceof work to a vendordue

   to the vendor'sfailureto return his callsfor campaigncontributionsand/orfailureto

    proffera contribution.



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           4. CEO Ellis dictating which lndlvlduals should be placed on
                                                  '
           selectioncommitteesfor RFPsfor which majorcampaigndonors

           andlorclientsof KevinRosswill be submittingoffers.

                  a) RFP for ConsentDecreeProgramManagementServices

           The Special Purpose Grand Jury heard witness testimony and recordings

    of CEO Ellis that Indicated that CEO directed an employee to place a certain

    individual on the selection committee for the Consent Decree Program

    Management Services RFP. CEO Ellis also directed this employee to submit all

    names to be on the committee to his Chief of Staff, Dr. Jabari Simama and to

    "check with Jabari' as to other specific individuals to be on the selection

    committee. After following the CEO's directive to this end, the employee then

    came back to the CEO for final approval of the members to be on the selection

    committee. Testimony provided to the Special Purpose Grand Jury indicated that

    a vendor submitting on the Consent Decree RFP was Montgomery Watson, a

    client of Kevin Ross'.   Additionally, the Special Purpose Grand Jury heard

    testimony and recordings of individuals that represented that Mr. Ross andfor

    Sheila,Edwardswereactual subcontractorsto MontgomeryWatson for the project.

           It should be noted that the CEO denied to the Special Purpose Grand Jury

    having ever directed the placement of an individual on an RFP selection

    committee.




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           5. CEO Ellis interferingIn the evaluationprocessfor RFPsby

           discussingsecretselectloncommitteeInformationwith committee

           membersduringthe activeevaluationperiod;

                   a) AmbulanceServicesRFP

           The Special Purpose Grand Jury heard testimony from more than one

     witness and recordings of the CEO that indicate that the CEO held at least two

     meetings with the chairman of the selection committee for the thef'! pending RFP

     for Ambulance Services. The discussions in these meetings centered wholly on

     the status of the RFP submittal of Rural Metro, exceptions requested by Rural

     Metro to the RFP and contract requirements, and whether or not the County could

     break from its normal practice and enter into contract negotiations with the

     winning offeror after the award of the contract. As stated above, Kevin Ross is a

     consultant to Rural Metro. Additional recordings indicate that CEO Ellis, around

     the same time.of his meetings with the selection committee chairman, was having

     ongoing discussions with Kevin Ross about the RFP issues related to Rural Metro

     (this aspect is discussed in further detail below).

           The CEO provided false testimony to the Special Purpose Grand Jury as to

    the issue of whether he has ever met with a selection committee member to

    discuss Issues related to a pending RFP for which an active evaluation was

    ongoing.

           6. CEO Ellis communicating with a submitting vendor and/or vendor

           representative during an active evaluation period for the related RFP

           about matters directly related to the pending RFP and subsequent

           contract award.




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                  a) RuralMetro(KevinRoss)-Ambulance
                                                   ServicesRFP

           The SpecialPurposeGrandJury heardtestimonyand recordingsregarding

    the CEO's early investmentand interest in the AmbulanceServicesRFP. While

    the RFP was being advertised,prior to the county'sacceptanceof submiltalsby

    offerors, CEO Ellis requested a copy_of the AmbulanceServices RFP from an
                                                       '
    employeewithinthe Contractingand ProcurementDepartment.He also requested

    that a copy of the RFP be providedto his Chiefof Staff, Hakim Hilliard. This was

    the first time known to this employeethat the CEO wantedto receive and review

    an RFP issuedby the county. Boththe CEO andthe Chiefof Staff receivedcopies

    of the RFP per the request.

           Additional recordingsand testimonyrevealedconversationsbetweenCEO

    EIits and Kevin Ross pertainingto Rural Metro'sRFP submittalfor the Ambulance

    Services contract. CEO Ellis counseledKevin Ross as to Rural Metro's options

    regardingwhether to withdraw its exceptionsthat were submittedwith its RFP

    submittal. CEO Ellis, after disclosingthat the othersubmittingvendorson the RFP

   either had not included any exceptions or already withdrawn their submitted

   exceptions,directedKevin Rossto have RuralMetrowithdrawall their exceptions.

   This is significantbecauseIf RuralMetrodid not withdrawtheir exceptions,It would

   have been subsequentlydroppedfrom the ongoing RFP evaluationprocess and

   would not been in contentionfor considerationfor the contractaward. As these

   discussionswere ongoing, Rural Metro receivedthree extensions'to the time in

   which they were to declare its intentionswith regards to its exceptions. These

   extensionsdelayedthe evaluationprocessand the issuanceof the contractto the

   successfulofferer - which is alarming especiallyconsideringthe importanceof

   the AmbulanceServicescontractto the citizensof the County.

                                                                                 so
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           After directing Rural Metro to withdrawal its exceptions, CEO Ellis then

    began to have conversations with Kevin Ross, staff and the selection committee

    chairman about possibly deviating from the normal RFP/Contracting process and

    allowing the winning vendor to "negotiate" its contracts terms after the award of the
                                                      '                                     '


    contract. The normal process is to have the winning offeror sign the contract

    template that was included in the RFP issued and advertised by the County.

                   b) Massey Bowers (Lewis Massey)-State Lobbying Services

                   RFP

           The Special Purpose Grand Jury heard testimony from more than one

    witness that leads to the reasonable conclusion that CEO Ellis was engaged in

    communications with Lewis Massey, partner of the lobbying firm Massey Bowers,

    regarding the pending RFP for State Lobbying Services during the evaluation

    period for the RFP. Recordings of former staff for CEO Ellis indicate that "the plan"

    was to have Lewis Massey continue with its services despite its previous contract's

   .expiration.   This same recording indicates that CEO Ellis received over ten

    thousand dollars ($10,000) in campaign contributions from the members of the

    Massey Bowers firm and that the firm was responsible for raising even more •

    money for the CEO through others contacts.

           The CEO provided false testimony to the Special Purpose Grand Jury as to

    the issue of whether he has ever discussed issues related to a pending RFP for

    which an active evaluation was ongoing with a submitting vendor or vendor

    representative.




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           7. CEO interfering with and/or altering a selection committee's final

          , recommendation (prior to submission to the Boardof

           Commissioners) In favor of vendors represented by Kevin Ross or for
                                                                 I
           vendorswith a historyof significantcampaigncontributions/raising

           significantcampaigncontributionsfor Mr. Ellis.

                  a) AmbulanceServicesRFP

          The Special PurposeGrand Jury heard recordingsof the CEO and heard

     testimonyfrom witnessesthat yield informationas to CEO'sintentionsto interfere

     and possibly alter the selection committee'srecommendationof AMR for the

    All)bulanceServicesContract. One recordingIndicatesthat the CEO is waitingto

     receivematerialsfrom Kevin Ross relatedto ambulanceresponseItimes so as to

     refute the representationby AMR in its RFP submittal that it can meet the·

     requiredresponsetime indicatedin the RFP issued by the County. Additionally,

    over the objectionsof the Directorof Contractingand Purchasingand the Chiefof

    Slaff, the CEO attemptedto manufacturereasonsfor the terminationof the entire

    RFP process"based on technicaldeficiencies". Witnesstestimonyindicatedthat

    had Rural Metro receivedthe recommendation,
                                              the CEOwould not be Involvedin

    these conversationsand would certainlynot be callingfor the entire processto be

    thrownout.

                 b) State LobbyingServicesRFP

          The Special PurposeGrand Jury heard recordingsof the CEO and others

    and heard testimonyfrom witnessesto indicatethat the CEO, upon learningthat

    Massey Bowers did not receivethe recommendationfor contract award for the

    state lobbying services work, was questioningthe criteria used included In the

    County's RFP and the validity of the recommendation. Witness testimony

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     indicatedthat had Lewis Masseyreceivedthe recommendation,the CEO would

     not be Involvedin these conversationsand would certainlynot be callingfor the

     entire processto be thrown out. If the entire processis thrown out, recordings

     and witness testimony indicate that the plan was then to Issue an emergency

     contractto MasseyBowersfor the work. Sincethe executionof searchwarrants

     by the DistrictAttorney'sOffice,this plan has been abandonedby the CEO.




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    DETAILED RECOMMENDATIONS OF THE 2012 SPECIAL
                                           •   '
    PURPOSE GRAND JURY


           After the conclusionof twelve monthsof testimonyand receivingevidence,

    including recordings,the 2012 Special PurposeGrand Jury makes the following

    recommendations::



    A. RecommendedIndictments


           The 2012 Special Purpose Grand Jury strongly recommends the

    indictment of the following person:·
    I

           1. Burrell Ellis

           Lyingto the SpecialPurposeGrandJury pertainingto the followingmatters:

                  • directingthe cancellationof contractsor the non-issuanceof work

                     to vendorsfor punitiveand politicalreasons

                  • dictatingwhich individualsshouldbe placedon selection

                     committeesfor RFPsfor which majorcampaigndonorswill be

                     submittingoffers

                  • interferingin the evaluationprocessfor RFPsby discussing

                     secretselectioncommitteeinformationwith committeemembers

                    duringthe activeevaluationperiod

                  • communicatingwith a submittingvendorand/orvendor

                    representativeduringan activeevaluationperiodfor the related

                    RFP about mattersdirectlyrelatecf'tothe pendingRFP and

                    subsequentcontractaward

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                  • interferingwith and/oralteringa selectioncommittee'sfinal

                      recommendation(priorto submissionto the Boardof

                      Commissioners)in favor of vendorsrepresentedby Kevin Ross

                      or for vendorswith a historyof payingsignificantcampaign

                      contributions/raising
                                          significantcampaigncontributionsfor Mr.

                      Ellis.



    B. Recommendedfurther,CriminalInvestigation

           The 2012 Special Purpose Grand Jury strongly recommends that the

     District Attorney criminally investigate the following individuals for possible

     indictment as to the listed topics:

           1. BurrellEllis

                  •    soliciting campaigncontributionsunder the color of his title as

                       CEO with vendorsthat have a just approvedor pendingcontract

                       with DeKalbCounty;

                  •    cancelingor attemptingto cancel contractsIn order to create an

                       "emergencysituation"for which an emergencycontractcan then

                       be issuedto anothervendorwithouta competitiveprocess;

                  •    directing the cancellationof contracts or the non-issuanceof

                      work to vendorsfor punitiveand politicalreasons;

                  •    dictating which individuals should be placed on selection

                       committeesfor RFPs for which major campaign donors will be

                       submittingoffers;

                  •    interfering in the evaluation process for RFPs by discussing


                                                                                    55
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                       secret selection committee infonnation with committee members

                       during the active evaluation period;

                   •   communicating with a submitting vendor and/or vendor

                       representative during an active evaluation period for the related

                       RFP about matters directly related to the pending RFP and

                       subsequent contract award;

                   •   interfering with and/or altering a selection committee's final

                       rec;ommendalion (prior to submission to the           Board of

                       Commissioners) in favor of vendors represented by Kevin Ross

                       or for vendors with a history of paying significant campaign

                       contributions/raising significant campaign contrib~tions for Mr.

                       Ellis.


         2. WIiiiam "Wiz" MIiier

               • , Obstructing a criminal investigation


         3. Jabari Simama

               •       Manipulation of selection committee process

               •       Perjury

               •       Bid Rigging


         4. Roy Barnes

               •       Bid Rigging

               •       Kickbacks

               •       Perjury




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          5.HadiHaeri

                   •   Theft

                   •    Falsewritings

                   •   Perjury

                   •   Bid Rigging

         6. Nadine Maghsoudlou

                •      Theft.

                •      Falsewritings

                •      Perjury

                •      Bid Rigging

         7. Vernon Jones

                •      Bid Rigging

               •       Theft

         8. Paul Champion

               •       Manipulationof the 1TBprocess

               •       Falsewritings

               •       Theft

               •       Perjury

         9. Kevin Ross

               •       Interferencewith governmentoperations

               •       Manipulationof the RFP/ITBprocess

               •       Bid Rigging



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         10. JeffreyWalker

               •   Theft

               •   Bid Rigging

               •   Perjury

         11. ChristianVann

               •   Falsewritings

         12. John_Willis and, possibly,other individualswith Brown& Caldwell

               •   Theft

               •   Bid Rigging

               •   Perjury




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       C. Reorganization
                       of CountyGovernment


                The Special Purpose Grand Jury recommends that the fundamental

       structure of DeKalb County government be changed. The current system of an

       elected Chief Executive Officer and seven part-time district commissioners

       does not provide adequate representation to the citizens of the County. The

       current system, with its over-reliance on County staff and departments who

       ultimately report to an elected· official, provides too many opportunities for

       fraudulent influences and fosters a culture that is overly politicized and in which

       inappropriate business relationships are created.            Inept policies and

       procedures and an attitude of non-compliance with same has been a strong

       thread throughout our lnyestigation.

                The Special Purpose Grand Jury strongly urges and requests that the

       DeKalb Delegation, per Section 23 of the DeKalb County Organizational Act,

       take immediate steps to initiate a process to revise the Organizational Act

       and/or    take   other   appropriate measures in        pursuit of    the   below

       recommendations:

                The Special Purpose Grand Jury strongly recommends the immediate

       removal of Burrell Ellis as CEO of DeKalb County and the elimination of the

       office of CEO. The CEO position, an elected position, creates an unnecessary

       layer of politics within our government for which the return to the citizens of

       DeKalb County is minimal. The true facilitation of running the government

       already lies with the Executive Assistant to the CEO (who also has reporting

       responsibilities to the Board of Commissioners).


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              The Special Purpose Grand Jury recommends making all current

       County commission seats full-time positions. Essential to this concept would

       be that commissioners would be adequately compensated and would be

       prevented from having any undocumented outside business interests which

       could potentially conflict with their responsibilities to govern. The expectation

       of these full-time commissioners would be that they would have the

       opportunity -to be better informed and make better decisions on behalf of

       their constituents. This system would also help to eliminate potential conflicts

       between their private life and public responsibility.

              The Special Purpose Grand Jury strongly recommends that the position

       of Director of Public Safety be eliminated immediately. It should be noted that

       testimony heard by the Special Purpose Grand Jury revealed that some police

       officers report directly to the Director of Public Safety and not to an employee

       of the police department.      This arrangement calls into question the true

       function of the Director's role and creates unnecessary tension and

       bureaucracy within the police department. This Grand Jury finds that the Office

       of Public Safety Director is not necessary and only hinders the ability of the

       Police Chief to properly manage the Police Department in all aspects. More

       importantly, as a political appointee -of the CEO, the position and its functions

       runs the risk of becoming a repository of "internal investigations" where cases

       can be hidden and never see the light of public scrutiny. We recommend the •
                I

       position ~f Public Safety Director be eliminated immediately.

              T~e Special Purpose Grand Jury recommends that the Purchasing and

       Contracti'ng Department be reorganized in a way that proper subject matter
                I
       experts are overseeing various areas of the procurement and contracting

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    process. For instance, contracting officers or attorneys with knowledge of the
               '

    GeorgiJ Competitive Award Statutes (and other related public construction
               'I
               I
    statutes) should be solely focused on contracts subject to those statutory
               /,
               '
    requirements.     Other contracting officers should be solely focused on

    procurement procedures and the issuance of contracts related to goods and

    those services not related to public construction projects.
               I
               I
    .      Along these lines, the Special Purpose Grand Jury strongly encourages

    that lhel cont~ctlng and procurement polices be ~vised so that the 1TBand

    the RFR process called for by the state competitive award statutes be adopted _

   _by the cpunty for all contract awards, including those that are not related to the

    public cpnstruction projects. In doing so, a uniform process can be applied to
          1
   the 1TBand RFP process used in the county regardless of the type of contract

   to be a!arded and/or for what type of project a contract is covering. Lastly,
               I          •
   following the RFP process laid out in the competitive award statues will require

   the opening of price before short listing of vendors and interviews. In doing so,

   the selection committee can engage in negotiations with vendors during said

   interviell)IS(and in subsequent Best and Final Offers) that could result in better

   serviceJ and better pricing for ~e County.
           '
          lihe Special Purpose Grand Jury strongly recommends that the

   Organizational Act be revised so that Sections 18 and 22 fully incorporate by

   reference the purchasing and contracting policies and procedures manual

   (which should also be modified per the above recommendation regarding
           I
           '
   change~ to the 1TB and RFP process to be used).                In addition, it is
           I
   recommended that specific acts be made illegal and recognized as a
           I
           I

   misdemeanor per local ordinance including the following: communication by a
         '
                                                                                   61
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    selection committee member to any vendor submitting on the RFP or RFQ that

    is being evaluated by the committee member; communication by a selection
           I

   committee member to any individual outside of the selection committee for the

   purposJs of influencing or otherwise altering the status of a submitting vendor
           I
           I
   or the outcome of the· selection committee's recommendation; receipt of gifts
           i        '                                      '
   by a vendor with a current contract with the county or that is a potential offeror
           I                 r           •        .


   on an advertised RFP or RFQ, and the purposeful communication by any
           'I
   individual to a known selection committee member for the purpose of

   discussing selection committee Information prior· to recommendation and/or

   influencing the selection committee process and outcome.



   D. Fundamentallychange or otherwiseeliminatethe LSBEProgram
               I                             •

          The Special Purpose Grand·Jury ~trongly recommends that the current

   LSBE Ptogra~ (and the applicable ordinance rega~ing ~_ame)be significantly

   revised 1or otherwise eliminated altogether.       The LSBE mandates were

   intended! to serve a laudable purpose: to open greater opportunities for
                I
   participa\ion in government-funded contracts by local small businesses. The
                '
   achievement of this purpose, according to testimony heard by the Special_

   Purpose! Grand Jury, has not happened and is not actively tracked in a

   meaningful way by the Purchasing and Contracting Department.

          o1er the years this program has become susceptible to fraudulent

   practices I by those trying to take perverse advantage of them and the millions
                I
   of DeKalb dollars that flow from them. One common abuse has featured non-

   LSBE firms who partner with, and sometimes create, sham firms who meet
                '

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•


          LSBE eligibility criteria on paper but who perform no actual work -          or, in the
                    I

          words of LSBE regulations, perform no "commercially useful function· -              on
                I                                                 •
                    '
          the gov~rnment-funded project.

                    The Special Purpose Grand Jury heard multiple times about a general
                    I
          contractor submitting paperwork indicating that the LSBE is properly certified

          and is ·performing the contracted work, but the general contractor actually

          performFd the work with its own forces. Here, a general contractor may run the
                    '
          payroll t,hrough the LSBE to create the illusion that employees are working for

          the LSBE. The LSBE is usually paid a small sum and the LSBE allows the use
                     '
          of its n~me on invoices, trucks, and equipment to create the appearance of

          LSBE participation (thus allowing the prime contractor to receive the extra bid

          points allotted to prime contractors who make use of an LSBE for 20% of the
      .                 I

          contracted work). The Grand Jury finds that in this case, the LSBE is a mere

          pass-through performing no commercially useful function and, in certain
                        '
          instimceF, their presence only added additional ~sis to the project and to the

          County.:

                The Special Purpose Grand Jury finds that the following are "red flags"
                        !

          of LSB~ abuse:

                •           Contracts for work for which LSBE has no previous history, licenses,

                            or equipment.

                •           LSBE has no business office and little equipment

                •           LSBE business owners absent for job

                • I Ghost employees or certified payroll irregularities
                •           Small LSBE contractors in unusual businesses



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              •       General contractors always using the same LSBE (and the LSBE

                      provide~ a different function under different contracts}



              The Special Purpose Grand Jury recommends the elimination of this

     program and retraction of the LSBE ordinance. In the alternative, If the program

     is to stay in place, the following are recommended measures for correcting the

     pro·gram:

          •       The program must be funded well enough to ensure compliance to the

                      program's criteria by those LSBEs seeking certification. Those criteria

                  should include the following:

          •       Revenues (based on verified, certified financial statements)

          •       Location (with primary office verified by submission of documents to

                  include insurance documents, bills, etc.}

          •       Area of focus by the LSBE (for which a pre-qualification process should

                  be established and verified)

          •       Implement a        Semi-Annual Prequalification Process that        allows

                  companies to seek LSBE certification upon approval of qualified status

                  -     the process should certify LSBE firms only in the substantive areas

                  of work for which the County has verified (through the prequalification

                  process) that the company can actually perform;

          •       increasing staffing in the County's administration of the LSBE program

                  and also changing its culture so that employees understand that their

                  mission includes not only assisting small local businesses in obtaining

              • work In DeKalb but also ensuring accountability and integrity to prevent



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               fraudulent   and   improper actions from          depriving procurement

               opportunities for legitimatefirms seeking to actually perform work under

               a subcontract with a prime_contractor with the County;

           •   Provide discretion to the Purchasing and Contracting Department as to

               which contracts the LSBE bld/RFP requirement and advantage will

               apply. Testimony from various employees of the department agreed

               thatthis change is necessary.

           •   Include harsh penalties to the prime contractors that do not properly

               utilize LSBEs on a contract. Also provide for de-certificationof a LSBE

               company (and its owner) when a pass-through arrangement is

               uncovered.




   E. Internal Audit Activity Independent of the CEO or Management

           As stated above, to maintain objectivity, internal auditors should have

   no personal or pr~fessional involvement with or allegiance to the area being

   audited, and should maintain an un-biased and impartial mindset in regard to

   all engagements.

          The Special Purpose Grand Jury recommends the revision of Section

   10, subsection D of the Organizational Act to reflect the following. The Internal

   audit function should report to the Board of Commissioners. The function is to

   review the conduct of CEO/BOC or any Department. This activity can create

   significant tension since independence is necessary for the auditor to

   objectively assess the actions of the entity being audited.

          Therefore, the internal audit activity should have a mandate through a

                                                                                  65
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    written audit charter that establishes its purpose, authority, and responsibility

    to support its independence and objectivity within DeKalb County and its

    various Departments. The internal auditors should have access to records and

    personnel as necessary, and be allowed to e_mployappropriate probing

    techniques without impediment.

             Internal auditors should not assume any operational responsibility.

   Objectivity can be presumed to be impaired when internal auditors perform an

   assurance review of any activity for which they had any authority or

   responsibility within the past year or a period significant enough to influence

   their judgment or opinion. Internal auditors should not accept gifts or favors

   from others such as employees, clients or business associates.

             The internal auditors should ad.opt a policy that endorses their

   commitment to abiding by the Code of Ethics, avoiding conflicts of interest, and

   disclosing any activity that could result in a possible conflict of interests.



   F. Training for the County Employees


          The Special Purpose Grand Jury encouragesall Board of Commissioners

   and Procurement officers that work In our government to become more

   knowledgeable to the various forms of collusion. Most criminal antitrust

   prosecutions involve activity known as "bid rigging" or"pricefixing".              It is
                                          I
   not necessary that the conspirators entered into a formal written or·

   express     agreement.     Price fixing, bid rigging and other collusive

   agreements       can be established        either by direct evidence,            or by

   circumstantial    evidence, such as suspicious bid patterns, travel and


                                                                                        66
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   expense reports, telephone records, e-mails and_business diary entries.




   G. Ethics Reform


          We heard testimony concem_ingDeKalb County elected officials and

    employees accepting meals, gifts,money, trip!, and other compensation from

    vendors, lobbyists and others that greatly concerned the Special Purpose

    Grand Jury. The Special-Purpose Grand Jury recomml;!nds that the County

    maintain a registry of-lobbyists and business consultants working on behalf of

    vendors doing business with the County. The County needs to adopt policies

    and practices to monitor and enforce the access and influence afforded these

    lobbyists and consultants.

         •We are all members of DeKalb County. In this country, governmental

    organizations derive their authority from the trust and confidence placed in ii

    by its citizens. Without this trust, representative democracy could not exist,

    either because people woul_dnot respect the authority of their institutions, or

    because government would usurp that authority for itself, and cease acting in

   the interests of its citizens.

         A critical task of DeKalb County government officeholders and

   employees is to preserve and protect the public's trust in government. Like

   any trustee, government officeholders and employees owe a special dilly of

   care to those who place the institutions and resources of government under

   our management and control.

         The Special Purpose Grand Jury has heard sufficient testimony to .


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    conclude that a comprehensive and enforceable code of ethics should be a

    priority for DeKalb County Government. This code of ethics will address

    gifting, transparency and other regulations.

           Public officeholders and employees need to have an understanding of

    what will or will not constitute proper behavior in their jobs. Ethics provides

    the roadmap for behavior that promotes essential public trust in government.

    Ethics is of such importance that our recommendation is for. DeKalb County to

    create a full time Ethics Officer position, supported with proper departmental

    resources, that reports to the Board of Commissioners. The sole purpose of

    this position and department will be to establish and enforce new ethical

    guidelines for employees, vendors and elected officials.         As •a point of

    reference, we have reviewed the Ethical Guidelines for Employees of the City

    of Atlanta and the United States Government Executive Branch Code of

    Ethics. These documents can be found at the following locations:

          U. S. Government:
          http://I/I/III/W.pacom.mil/documents/pdf/newcomers~code-of-ethlcs[1
                                                                          ].pdf


          City of Atlanta:
          http:l/1/1/111/W.atlantaga.gov.index.aspx?


          We would like for the new Ethics Officer to use this information as a

    model for establishing Ethical Guidelines for DeKalb County.

          The current Board of Ethics established by the OrganizationalAct is inept

    for many reasons.     Most pertinent, the members of the Board are political

    appointees. The Special Purpose Grand Jµry notes that the Board of Ethics

    website has not been updated since 2010 and lists its last meeting having been in


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         November of 2010.



       H. Transparency

                  The Special Purpose Grand Jury recommends the establishment of a

       website for greater transparency. The Special Purpose Grand Jury ·recommends

       for consideration two such websites. For example, the State of Nebraska's budget
                              3
       transparency website - "Nebraska Spending"- which was created in July 2007 as

       part of several accountability refonns initiated by their State Treasurer's office. The

       website allows Nebraskans to access state revenue and spending information in a

       straightforward and comprehensible fonnat. The website includes:

              •     FiscalYear Expenditures
                       Which provides transaction-level detail on the expenditures
                       made by the state. Such infonnation is formatted in a
                       searchable database that can target spending down to
                       accounts such as "Board & Lodging".


              •     CurrentFiscalYear Budget
                       Which includes a pie chart that details each agency's
                       percent of the state's overall appropriation, as well as
                       definitions of the different funds that provides resources to
                       each agency.


             •      Sourceof Funds
                       Which shows the dollars received, the source of dollars, and
                       a historical comparison using bar graphs.


             Internationally, the Ministry of Infrastructure in Ontario, Canada launched a


   3
       http://nebraskaspendlng.com/



                                                                                       • 69
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..


            website to allow users to track the progress of recenily announced infrastructure

            stimulus projects in their community and across the province.4 The website

            provides another model/example to                 provide greater transparency and

            accountabilityto residents regardinginfrastructurestimulus funding by highlighting

            the citizen's contribution towards projects, tracking construction progress and

            providing regular updates on new investments. This website also provides

            interactive maps of infrastructure projects, webcams of jobsites, and videos with

            more information on projects. The "By the Numbers' section of the site uses

            graphs and charts to detail how infrastructured9llars are being spent across broad

            categoriesof spending.




        I. Asset Management

                   The Special Purpose Grand Jury has heard sufficient testimony and

        seen enough evidence to conclude that the Department of Watershed

        Management's Internal controls were inadequate to ensure that assets were

        properly accounted for and safeguarded. During our visit to the Wastewater

        treatment facility and the questioning of its employees, the Special Purpose

        Grand Jury witnessed and saw an abysmal lack of inventory control or

        monitoring equipment. Indeed, during our tour, the Special Purpose Grand Jury •

        witnessed a sewage spill actively occurring near Snapfinger Creek which was

        unknown to the employees until we arrived at the scene. Worse, ii was

        unknown how long this raw sewage had been spilling. This is simply


        4
            https://www.infrastructureapp.mei.gov.on.ca/en/



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    unacceptable.

          Understanding the vulnerability of physical assets, consequently, will •

    provide a clearer picture of the vulnerability of other assets. During the past

    year, this Special Purpose Grand Jury heard testimony and saw media

    accounts of employee thefts in DeKalb County. We did not see sufficient

    measures in place for the protection . of the Department of. Watershed

    Management's assets. Protecting _theCounty's physical assets often will serve

    as a first step in protecting many of its other assets.

          Related to the protection of the physical assets of our Department of

   Watershed Management is the actual maintenance of these assets. This

   Special Purpose Grand Jury was comprised of citizens with varied

   backgrounds to include - management and operations of various companies.

   Business experience dictates that maintenance is the key to the sustainability

   of every water and wastewater system. A preventive maintenance program,

   combined with good operational p_ractices,will reduce the need for much

   corrective or emergency maintenance. A good. preventive maintenance

   program will service not only mechanical and electrical equipment, but als!) the

   distribution.and collection systems, as well as grounds and buildings.



   J. Corporate Credit Card use and P-Cards
          All officials that are capable of being issued a P-Cardshould only be issued

    a P-Card for official purposes.Any other extraneouscredit card currently held and

    funded by County by an employee or official of the County should be eliminated.

    The Special Purpose Grand Jury has been made aware of the fact that CEO Ellis

    has a corporate card funded by the County that is not under the P-Card

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         restrictions. The Special Purpose Grand Jury takes great exception to this.



        K. InformationTechnology

               The Special Purpose Grand Jury recommends that the IT organization

         and all its functions be outsourced to a private company for management and

        enhancement.




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    CONCLUSION


           Customers are the lifeblood of the utility and the purpose of the

    utility's existence. As with day-to-day operations, the utility should strive to

    meet, and if possible, exceed customer expectations when It comes to

    evaluating vulnerabilities, planning for emergencies and responding to, and

    recovering from disasters. Communications, service continuation, and

    financial integrity are the focus of assuring that this very important asset is

    protected.

           Based upon the evidence gathered during the course of our

    investigation, the Special Purpose Grand Jury, as a group of citizens, has

    been increasingly     concerned about      the path that DeKalb County

   government is on. We have seen decisions involving millions of dollars

   made with little or no information or for the most venal reasons.

          As interested citizens we have carefully considered our decisions and

   recommendations. It is now up to the elected leaders of DeKalb County to

   carefully consider these recommendations and implement those they believe

   would best serve the public interest.

          In many ways, DeKalb County is still a great place to live, work, and

   raise our children but in order to remain great, changes must be made.

          In addition to the publication of presentments, we recommend that a

   copy of these presentments be delivered to:



   Mr. Burrell Ellis, CEO, DeKalb County

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    Ms. Elaine Boyer, DeKalb County Board of Commissioners, District 1

    Mr. Jeff Rader, DeKalb County Board of Commissioners, District 2

    Mr. Larry Johnson, DeKalb County Board of Commissioners, District 3

    Mr. Sharon Sutton, DeKalb County Board of Commissioners, District 4

    Mr. Lee May, DeKalb County Board of Commissioners, District 5

    Mr. Kathie Gannon, DeKalb County Board of Commissioners, District 6

    Mr. Stan Watson, DeKalb ·County Board of Commissioners, District 7




    Done this 181hday of January, 2013


    By the Special Purpose Grand Jury




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         Acknowledgements,
                        Thanks,and Requestfor Discharge

                  From the beginning, each individual Special Purpose Grand· Jury

         member believed that he/she was engaged in important work. It was our goal

         as a body to determine whether or not the elected officials and County

        employeeswere making decisions that were ethical, legal and otherwise in the

         best interests·of the citizens of DeKalb County. This task was undertaken at

        no small price, both personally and financially, by each Special Purpose
                                                                                '

        Grand Jury member.

                 The Special Purpose Grand Jury wishes to th_ankand commend many

        of the witnesses who appeared before us, including members of the County

        staff who broug~t records for our review and prepared for their testimony by

        looking at notes to assist us. The ability of this Special Purpose Grand Jury to

        make meaningful recommendations that are intended to clean up our County

        govemment, promote fair and transparent processes and procedures, and

        ensure the best services for the citizens of DeKalb County hinged on the

        veracity of the testimony provided by witnesses.

                It is unfortunate that the former ChiefExecutiveOllioer,                VernonJones,

        raised 1o provide   mearingU 1esfimony   1o   1he   Special   Puipose       Grand Jury.   His

        refusal to answer questions related to his structuring of the County

        government, the appointment of unqualified friends to high-ranking

        positions (including the Department of Watershed Management), his

       relationships with outside vendors, in particular "business developer"

       Jeffrey Walker (whose brother was a high-ranking Department of

       Watershed Management official up to the time of his death in late 2007 and

       whose sister was a Jones appointee as Chief Judge of Recorders Court)

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        and as to other matters of great concern certainly led the Special Purpose

        Grand Jury to conclude that he has something to hide. Mr. Jones had an

        opportunity to assist this Special Purpose Grand Jury in its efforts to

        address and make right the many flaws of his administration. He failed to

        rise to the occasion.

               In light of ttie huge ainount of testimony heard and our review of

        voluminous documents and records, this Special Purpose Grand Jury is

        certain_that numerous witnesses lied under oath as to matters related to

        procurement and contract manipulation, kick_backs,and abuse of the County's

        Local Small Business and Minority Business program. To the extent possible,

        the Special Purpose Grand Jury believes these individuals should be criminally .

        investigated further by the District Attorney's Office.

               The Special Purpose Grand Jury wishes to express our appreciation

        to District Attorney Robert James, to Assistant District Attorneys John

        Melvin, Kellie Hill, Cynthia Hill, and to Investigators Clay Nix, Crispin Henry,

        and Jerald Dalton for providing legal guidance and investigative. support.

       Additionally, we thank Kim Ackerman and Jamita Vorlice-Bowden for .their

       administrative support throughout the term of the Special Purpose Grand

       Jury.

               We also want to express .our appreciation to court reporter Mary K.

       McMahan.       Lastly, we thank the DeKalb County Sheriff's staff for their

       professionalism and their support provided to the Special Purpose Grand Jury.

       In particular, Deputy Small is an exemplary representative of the Sheriff's

       Department and was a pleasure to work alongside.

               Thal being said, it is our purposethat the citizens of DeKalb County know

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              the resultsof our investigation,hear our recommendations,
                                                                     and that the Judgesof
J.
              the SuperiorCourt considerourwork complete.




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    WITNESSESTESTIFYINGBEFORETHE 2012 SPECIALPURPOSEGRANDJURY


                      Ajy, George
                      Ajy, Kimberly
                      Albuquerque,Hector
                      Allen, Dion
                      Alvarado,Joel
                      Amato,Michael
                      Barnes,Roy
                      Basista,Joe
                      Bekele,Yafet
                      Bell,Dr. JamesMichael
                      Bennett,Barry
                      Bocarro,Robert
                      Broome,Yolanda
                      Carruth,Sgt.Jerry
                      Champion,Paul
                      Chatterjee,Jib
                     Coffin,Sgt. BruceP.
                     Cole,Claude
                     Cornelius,Brenda
                     Crowe,Sgt John
                     Cummings,Brandon
                     Cummings,Danice
                     Daftarlan,Terri
                     Daniel,Rick
                     Ellis, Burrell
                     Figueroa-FredDel. Alexander
                     Gallemore,DavidW.
                     Gudowicz,Chester
                     Haer!,Hadl
                     Hall,Nina
                     Harris,Ken
                     Hightower,Michael
                     Hilliard,Hakim
                     ldowu,Omotayo
                     Jacobs,Larry
                     Jones,Vernon
                     Kung'u,Dr. Francis
                     Lambert,Charles
                     Lane-Woodard,Dep Chief
                     Annette
                     Lindsey,Angela
                     Linkous,Bill
                     Macrina,Joanne
                     Maghsoudlou,Nadine
                     Malone,William
                     Mason,Charles
                     Medlin,Lt. Craig
                     Miller,William(Wiz)
                     Mohammad,Sartaj .
                     Morris,Chris
                     Oak Sgt, DanielDCPD
                     O'Brien,Chief Eddie
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                                  O'Brien,ChiefWilliam
                                  O'Mard,Eugene
                                  Nix, Clay
                                  Payton,Del. Jaime
                                  Phillips,Terry
                                  Reeves,Mike
                                  Rhinehart,Ted
                                  Robles,Eneida
                                  Rogers,Kurlis
                                  Roy,Samit
                                 Saunders,Kenneth
                                 Simama,Jabari
                                 Slrdah,Ismail
                                 Shaw,Doyle•
                                 Shealey,Gregory
                                 Shealey,Trina
                                 Sheffield,Merri
                                 Stanfield,Sgt. Shane-DCPD
                                 Stewart,Phyllis
                                 Stogner,Richard
                                 Taylor,Eugene
                                 Taylor,Tony
                                 Thompson,Mark
                                 Thompson,Troy
                                 Trabue,Dana
                                 Van Gundy,BJ
                                 Vann,Christian
                                 Walker,Jeff
                                 Walker,Joy
                                 Walker,Sharon
                                 Walton,Kelvin
                                 Ware.Judy
                                 Williams,Felton
                                 WIiiiams,Karen
                                 Wlllls,John
                                 Withers,Judge Nelly
                                 Wright,Debra
                                 Zarreil,Marat
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                             KATHARYNE FOWLKES MENSAH,

                            ASSISTANT FOREMAN

                                          t} -dc/+c
                            CATHERINE 0. SCHEFFER, SECRETARY

                                              tr.u, /
                            •JAh~oRTON,    ASST. SECRETARY


                             GEORGIA MAE BROCK
                             JOYCE A. BROWN
                             KEVIN CARRAGHER
                             NANCY CHAMBERS
                             ALAN CRAVEN
                           . BARRETT CROSS
                             JIMMY F. DAVIS
                             JEFFREY J. ENGELKING
                             CLEMENT GRIFFIN
                             ROBERT E. HICKS
                             WALTER HOUSTON
                             NYOKA KIMBRO
                             GLORIA A. MCCLAIN
                             ERIC D. MONGERSON
                             EDGAR L. SARDEN
                             VICKIE L. SCOTT
                             WYNESHIA SIMS
                             KIMBERLY M. WILSON
                             NYKKI I. YOUNG
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                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this day served a true and correct copy of the

above via Electronic and United States Mail upon:



     Fani T. Willis
     Will Wooten
     District Attorney's Office
     136 Pryor Street SW, 3rd Floor
     Atlanta, Georgia 30303
     Fani. willisda@fultoncountyga.gov
     Will. wooten@fultoncountyga.gov


              DATED this the 23rd day of January, 2023
